Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 1 of 169

Zack, Sherri (USATXS)

Jn: - Zack, Sherri (USATXS)
Sent: Monday,-June 9, 2014 4:28 PM
To: dan@cogdell-law.com; Charles Flaod (Charles@floodandflood.com)
Subject: gandy 1
Gentlemen,

| will be sending you the C plea paperwork in the next few days. We may need to continue the plea to get the appraisal
on the house. Who should the appraiser contact to get on and into the property?

Thanks,
Sherri

Sherri L. Zack

Assistant United States Attorney

Southern District of Texas

1000 Louisiana

23 Floor

Houston, TX 77002

Office (713)567-9374 f
Fax (713)718-3301

GOVERNMENT
EXHIBIT

 

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7-ck, Sherri (USATXS)

rv: Zack, Sherri (USATXS)

Sent: Monday, July 21, 2014 4:24 PM

To: dan@cogdell-law.com; Charles Flood (Charles@floodandflood.com)
Subject: gandy

Gentlemen,

Attached please find the plea paperwork related to your client. Please let me know if you need anything else. We are
scheduled for next Tuesday.

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1 FoF} a PDF a
plea agreement - Joint Mot for Final

Gandy- 11(Q(...  Jdgt and P...
Sherri

Thanks,

 

Sherri L. Zack
Assistant United States Attorney
Southern District of Texas
1000 Louisiana
d Floor
4ston, TX 77002
Office (713)567-9374
Fax (713)718-3301

  

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. : CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §

PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States Attorney,
for the Southern District of Texas and Sherri L. Zack, Assistant United States Attorney, and the
defendant, Jason Gandy, and the defendant’s counsel, Dan Cogdell, pursuant to Rule-L1(c)(1)(C)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

The Defendant's Agreement
f Defendant agrees to plead guilty to Connie) One of the Indictment. eet One charges
the defendant with Transportation of Diane in violation of Title 18, United States Code, §
2423(a). Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the law makes essential to the punishment either charged in the Indictment or proven to a jury
or judge beyond a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
§ 2423(a), is aterm of imprisonment of not less than 10 years up to Life and a fine of not more than
$250,000.00. Additionally, Defendant shall receive a term of supervised telease after
imprisonment of at least 5 years up to Life. Title 18, United States Code, 88 3559(a) and 3583(b).

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Defendant acknowledges and understands that ifhe/she should violate the conditions of any period
of supervised release which may be imposed as part of his/her sentence, then Detendant-may be
imprisoned for the entire term of supervised release, without credit for time already served on the
term of supervised release prior to such violation. Title 18, United States Code, §§ 3559(a) and

35 83(e)(3). Defendant understands that he/she cannot have the imposition or execution of the
sentence suspended, nor is he/she eligible for parole.

3. The defendant understands that under the Sex Offender Registration and
Notification Act, the defendant must register and keep such information current in the jurisdictions
where the defendant resides, is employed, and is a student. The defendant further understands
that the requirement to keep the registration current includes informing such jurisdictions not later
than three (3) business days after any change of the defendant’s name, residence, employment or
student status. The defendant understands that failure to comply with these obligations subjects
the defendant to prosecution for failure to register under federal law, specifically, Title 18, United
States Code, Section 2250, as well as applicable state statutes.

Mandatory Special Assessment
4. Pursuant to Title 18, U.S.C. § 3013(a)(2)(A), immediately after sentencing,
defendant will pay to the Clerk of the United States District Court a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction, The payment will be by
cashier's check or money order payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Fine, Reimbursement and Restitution

s Defendant understands that under the Sentencing Guidelines, the Court is permitted

to order the defendant to pay a fine that is sufficient to saiiibimse the government for the costs of

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any imprisonment or term of supervised release, if any is ordered.

6. Defendant understands that under the Sentencing Guidelines and applicable federal
law, in the case of an identifiable victim, the Court may order restitution if authorized by law and
requested by a victim.

Fe Defendant agrees that any fine or restitution imposed by the Court will be due and
payable immediately, and defendant will not attempt to avoid or delay payment. Defendant
further agrees not to contest the forfeiture of the items described in the indictment

8. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500) prior to sentencing ifhe/she is requested to do so. In
the event that the Court imposes a fine or orders the payment of restitution as part of the
Defendant's sentence, the Defendant shall make complete financial disclosure by truthfully
executing a sworn financial sintiihet immediately following his/her sentencing.

Waiver of Appeal

9, Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. The defendant agrees to waive the right to appeal the sentence
imposed or the ater in which it was determined on any grounds set forth in Title 18 U.S.C. §
3742. Additionally, the defendant is aware that Title 28, U.S.C. § 2255, affords the right to
contest or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant waives the right to contest his/her conviction or sentence by means
of any post-conviction proceeding. In the event the Defendant files a notice of appeal following
the imposition of the sentence, the United States will assert its rights under this agreement and seek
specific performance of this waiver. |

10. In exchange for the Agreement.with the United States, Defendant waives all

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defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and the statute
of limitations with respect to any prosecution that is not time barred on the date that this
Agreement is signed, in the event that (a) Defendant's conviction is later vacated for any reason,
(b) Defendant violates any provision of this Agreement, or (c) Defendant’s plea is later withdrawn.

11. In agreeing to these waivers, defendant is aware that a sentence has not yet been
determined bythe Court. The defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction, not a promise, did not induce his/her guilty
plea, and is not binding on the United States, the Probation Office orthe Court. The United States
does not make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. United States y. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the
Sentencing Guidelines nor sentence Defendant within the calculatéd guideline range.

12. The Defendant understands and agrees that each and all waivers contained in the
Agreement are made in ashes for the concessions made by the United States in this plea
agreement.

The United States’ Agreements

13. The United States agrees to each of the following?
(a) At the time of sentencing, the United States agrees not to oppose defendant's
anticipated request to the Court and the United States Probation Office that he/she
receive a two (2) level downward adjustment pursuant to U.S.S.G. Section

3E1.1(a) should the defendant accept responsibility as contemplated by the
Sentencing Guidelines.
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(b) If the defendant qualifies for an adjustment under U.S.S.G. Section 3E1.1(a), the
United States agrees not to oppose the defendant's request-for an additional one
level departure based on the timeliness of the plea or the expeditious manner in
which the defendant provided complete information regarding his role in the
offense if the defendant's offense level is 16 or greater,

(c) The United States agrees at the time of sentencing to request a sentence of 10 years
on Count One. The term of imprisonment is to be followed by a term of Life on
supervised release. The United States agrees that the amount of any fine imposed
rests with the Court, The United States agrees that this recommendation will bind
the Court, if this agreement is accepted, pursuant to Rule 11(c)(1)(C).

United States’ Non-Waiver of Appeal
14. The United States reserves the right to carry out its responsibilities under the
sentencing guidelines. Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with that
office’s preparation ofa presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with defendant's counsel
and the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G. Section
6A1.2 and Title 18, U.S.C.§ 3553(a).
Sentence Determination
15. Defendant is aware that the sentence will be imposed after consideration of the
United States Sentencing Guidelines and Policy Statements, which are only advisory, as well 48
the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has authority to impose any sentence up to and including the statutory maximum set

for the offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is within
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the sole discretion of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines. Defendant understands and agrees the parties’ positions regarding the application of
the Sentencing Guidelines do not bind the Court until the Court accepts the plea agreement. Ifthe
Court accepts the plea agreement, Defendant will remain bound to fulfill all of the obligations
under this plea agreement. If the Court rejects the plea agreement, Defendant will be given an
opportunity to withdraw his plea of guilty.
Rights at Trial

16. Defendant represents to the Court that he is satisfied that his/her attorney has
rendered effective assistance. Defendant understands that by entering into this agreement, he/she
surrenders certain rights as provided in this plea agreement. Defendant understands that the

rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant would have
the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the defendant, the United States, and
the court all agree.

(b) At a trial, the United States would be required to present witnesses and other
evidence against the defendant. Defendant would have the opportunity to confront
those witnesses and his/her attorney would be allowed to cross-examine them. In
turn, the defendant could, but would not be required to, present witnesses and other
evidence on his/her own behalf. If the witnesses for defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court. ~

(c) Atatrial, defendant could rely ona privilege against self-incrimination and decline
to testify, and no inference of guilt could be drawn from such refusal to testify.

However, if the defendant desired to do so, he/she could testify on his/her own
behalf.

Factual Basis for Guilty Plea
17, Defendant is pleading guilty because he is guilty of the charges contained in Count
One of the Indictment. If this case were to proceed to trial, the United States could prove each

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element of the offenses charged in each count beyond a reasonable doubt. The parties agree that
this factual basis does not include all relevant conduct that may be considered by the Court for

sentencing purposes. The following facts, among others would be offered to establish the

Defendant's guilt:

On July 19, 2012, J ason Gandy (GANDY) arrived in the United Kingdom (UK) at
Heathrow International Airport aboard United Airlines Flight 4 which he boarded in Houston,
Texas. GANDY was traveling with a 15 year-old male KV (D.O.B. xx/xx/ 1997) KV is not
related to GANDY.

Upon landing in the UK, GANDY was inspected by UK Immigration (UKI) Officers of
the UK Border Agency and selected for secondary inspection. UK authorities became
suspicious when GANDY was asked why he wanted to enter the UK and why he was traveling
with a minor child. UK authorities were also concerned as GANDY admitted that he was not
related to KV and contacted KV's mother. KV’s mother informed the UKI officers that she had
given KV permission to travel with GANDY, but also gave a conflicting reason as to the purpose
of the trip. Based upon interviews with GANDY, KV and KV’s mother, URI officials denied
GANDY and KV entry and made arrangements for them to immediately return to the United
States.
On or about, July 20, 2012, at approximately 1:35 pm (CDT), GANDY arrived at George
Bush Intercontinental Airport in Houston, Texas, on United Airlines Flight 35. Bush
Intercontinental Airport is in Houston, Harris County, Texas and within the Southern District of
Texas. Upon disembarking the plane, GANDY was escorted by U.S. Customs and Border
Protection (CBP) officers to the secondary inspection area. During secondary inspection,
GANDY made a binding declaration to the CBP officers that the luggage and other items he was
carrying were his.

HSI SA Juanae Johnson along with Houston Police Department Detective Joseph Roscoe,
met with GANDY upon his arrival and questioned him as to the purpose of his trip to the United
Kingdom and his travel with KV. GANDY was advised of his Miranda rights and informed

that he was not under arrest. Gandy waived his rights and spoke willingly and voluntarily with
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law enforcement about his travels to the UK with KV. The interview took place in the baggage
search area in the CBP secondary inspection area.

GANDY stated that he and K’V had met through a mutual "friend" on the social
networking website “Facebook”. GANDY, who is 35 qeansholdy knew K'V was only 15 years of
age, however he did not disclose his age to the child.

Upon meeting KV, GANDY took him to the mall to celebrate his 15" birthday. GANDY
also admitted taking KV to a concert, and informed agents that he and KV began to develop a
friendship. GANDY admitted to lavishing KV with gifts in person and via the mail. GANDY
stated that he liked buying KV nice things, because K'V's family was unable to.

GANDY informed the agents that he is a licensed massage therapist and he buys and sells
real estate for a living. GANDY told agents that he owned and operated a massage business
known as, JasonRMT.com. The website indicates that GANDY performs massages for a fee
which must be paid in cash. Additionally, the massages can be “incalls” or “outcalls” which
mean that either the customer comes to GANDY or he goes to the customer. The terms
“nealls” and “outcalls” are terms frequently associated with prostitution and advertisements for
prostitution activities. GANDY informed the agents that KV spends the night at least once a
week at his home.

KV was also interviewed and based on information provided by GANDY and the KV,
agents were able to establish KV was with GANDY almost every weekend. GANDY also told
agents that when they are together, he gives massages to KV. KV corroborated GANDY’s
statement and informed agents that GANDY, on at least on one occasion, had masturbated him,
KY, during the massage session. GANDY told the agents that after every massage, GANDY
masturbates in K'V’s presence, and on several occasions GANDY and KV have masturbated in
the presence of one another.

GANDY also told agents that on at least one occasion he has iil a nude picture of
K V's backside without his permission while they were at GANDY’S home. GANDY also
stated that he downloaded the picture on his laptop. KV confirmed that GANDY has taken
other photos of his nude backside at the home but he does not know where those photos ate.
When asked to elaborate, KV indicated that he was joking with GANDY one day when they
were together about the photos. K’V took off his pants and then allowed GANDY to take nude

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photos of him.

Personnel trained in child psychology from the Harris County Children's Assessment
Center along with officers also interviewed KV. KV confirmed that GANDY runs a massage
business which he operates in his home and in the Recreational Vehicle (RV) located on the
property. KV was recruited by GANDY in May of 2012 to assist with GANDY's massage
business and KV has done so up until the present. At GANDY 's direction, KV massages men
while they are completely nude. The menare also allowed to fondle KV’s genitals during the

massage sessions. KV was uncomfortable conducting massages in the nude and allowing the
men to touch him in the beginning. GANDY told KV that in order for them to continue to hang
out and make money together he had to allow the clients to touch him. During these massages
KV would also masturbate the men. KV estimated that he has been paid between $400.00 and
$500.00 dollars since working for GANDY.

KV indicated that he has been instructed to massage certain clients alone on at least one
occasion, KV stated that he would “stay” in the RV while at GANDY’s residence, and men
would enter the RV and tell KV “Iam here for you.” KV would massage these men alone while
in the nude and masturbate them. KV knew that GANDY was paid between $80.00 and $120.00
for the massage sessions. If GANDY alone provided what was referred to as a “single”
massage, the fee was $80.00. If both KV and GANDY provided what was referred to as a “four
hand” massage together, the fee was $120.00. Upon completion of each massage, the clients
paid GANDY, and then GANDY would pay KV between $20.00 and $40.00. KV went on to say
that GANDY has a large clientele and GANDY is busy most of the time.

GANDY stated that he and KV recently began discussing taking a trip to England.
GANDY purchased both plane tickets (approximately $2150.00) and gave KV money to
purchase an expedited passport (approximately $200.00). GANDY received a signed and
notarized affidavit form from KV’s mother that authorized KV to travel with GANDY and
remain in the UK in GANDY$’ custody from July 18, 2012 until August, 22, 2012. GANDY had
not reserved any accommodations in the UK and was intending on finding a place to stay once
they landed in the UK.

During the secondary search of GANDY’s personal belongings, CBP officers discovered
approximately 90 condoms. When agents questioned GANDY about the condoms he told agents

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|

that he utilized the condoms for massaging his clients prostates, and he had some “hope” of
possibly using a couple of condoms with KV once in London.

KV also told interviewers that GANDY intended to start a massage business while in
London that was similar to the one he ran in the Houston area. KV stated that GANDY told
him that he was unaware of the laws in the UK governing the types of massages he would be
legally permitted to provide. KV also stated that on J uly 18", 2012, while they were waiting to
board their flight to the UK, GANDY informed KV that he had two clients waiting for them im
the UK. They were set to meet him between July 22" and July 24": 2012.

KV stated that GANDY promised KV that once in London he would possibly be able to
attend the Olympics, and that he would be taken to his favorite clothing store and be able to see
his favorite bands. KV was under the impression that he would be required to perform some
massages while he was in the UK but he was most excited about the shopping, the Olympics and

_seeing his favorite bands.

Breach of Plea Agreement

18.  Ifdefendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and the defendant's plea and sentence will stand. If at any time defendant retains,
conceals or disposes of assets in violation of this plea agreement, or if defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

19, | Whether the defendant has breached any provision of this plea sett shall be
determined solely by the United States through the United States Attorney's Office, whose
judgment in that regard is final.

Forfeiture

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90. Defendant agrees to waive any and all interest in any asset which is the subject of
any related administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal, with the exception of the real property located at Truxillo Street and Dowling Street,
Houston, Texas. Defendant admits and agrees that the following assets, which are the subject of
the related civil forfeiture action styled United States of America v. 2005 C5500 Chevrolet
Recreational Vehicle, et al., and pending before the Houston Division of the United States District
Court for the Southern District of Texas under Case No. 4:12-cv-3668, were used or intended to be
used to commit or to facilitate the commission of transportation of a minor-with intent to engage in
criminal sexual activity which form the basis of this criminal action:

A. The real property located at Truxillo Street and Dowling Street, Houston, Texas,

and legally described as:
Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in
Harris County, Texas, according to the map or plat thereof recorded in
Volume 557, Page 68 of the Deed Records of Harris County, Texas;

B. A.2005 C5500 Chevrolet Recreational Vehicle, VIN # LGBESUIE15F505062; and

C. A 2012 Toyota Scion 1Q, VIN # TTNITXBO6CIO10887.

21. Defendant agrees that he will sign an agreed judgment in the related civil forfeiture
action (Case No. 4:12-cv-3668) that will forfeit all right, title, and interest in the assets which are
the subject of that action, except for the real property located at Truxillo Street and Dowling Street,
Houston, Texas, to the United States. The terms of the agreed judgment will be as follows:

A. Defendant agrees to pay the United States a sum of money, equal to the fair market

value as determined by the United States, of the real property located at Truxillo
Street and Dowling Street, Houston, Texas, in liew of forfeiture of that property.

Defendant agrees to pay the United States in the form of a cashier’s check made

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payable to the United States, or its designee, at or before the time of re-arraignment.
B. Defendant understands and agrees that he is and will remain liable for any unpaid
ad valorem taxes on the real property referenced above.
C; Defendant agrees to allesniatavide the United States, or its designee, access to the
real property for purposes of appraising the property.
D. Defendant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational
Vehicle, VIN # 1GBESUIE1SF505062.
E. Defendant agrees to the forfeiture of the 2012 Toyota Scion [Q, VIN #
JTINISXB06CJO10887. |
22. Defendant waives the right to challenge the agreed judgment in the civil forfeiture
action referenced above in any manner (including by direct appeal, habeas corpus, or any other
means) and on any grounds, including that the forfeiture constitutes an excessive fine or
punishment. The defendant agrees to take all steps requested by the United States to pass clear
title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding.
Complete Agreement
23. This written plea agreement, consisting of 15 pages, including the attached
addendum of defendant and his/her attorney, constitutes the complete plea agreement between the
United States, defendant and his/her counsel. No promises or representations have been made by
the United States except as set forth in writing in this plea agreement. Defendant acknowledges
that no threats have been made against him/her and that he/she is pleading guilty freely ia

voluntarily because he/she is guilty.

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24. Any modification of this plea agreement must be in writing and signed by all

parties.

Filed at Houston, Texas, on , 2014.

 

Jason Gandy
Defendant

Subscribed and sworn to before me on , 2014.

 

UNITED STATES DISTRICT CLERK

 

 

By:
Deputy United States District Clerk
APPROVED:
KENNETH MAGIDSON
United States Attorney
By:
Sherri L. Zack Dan Cogdell
Assistant United States Attorney Attorney for Defendant

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
y. : CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §

- PLEA AGREEMENT - ADDENDUM
[have fully explained to defendant his/her rights with respect to the pending Indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence tieatutnt up to the
saaasiatn allowed by statute per count of conviction. Further, I have carefully reviewed. every

part of this plea agreement with Defendant, To my knowledge, Defendant's decision to enter into

this agreement is an informed and voluntary one.

 

 

Dan Cogdell Date
Attorney for Defendant

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I have sonmulted with my attorney and fully understand all my tights with respect to the
Indictment pending against me. My attorney has fully explained and I understand all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply inmy case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

 

 

Jason Gandy Date
Defendant ;

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA, §

Plaintiff, §

V. §

§

2005 C5500 Chevrolet Recreational §
Vehicle; 2012 Toyota Scion IQ; One § CIVIL NO. 4:12-cv-03668

Piece of Real Property at Truxillo Street §

and Dowling Street, Houston, Texas; §

and Massage Therapist Verification, §

Credential Number MT023870, §

File Number 37235, §

Defendants. §

JOINT MOTION FOR AGREED FINAL JUDGMENT OF FORFEITURE

The United States of America and the claimant Jason Gandy (“Claimant”), through his
attorney, Dan Cogdell, state that they have settled all matters in dispute. in this in rem forfeiture
action and agree to judgment on the following terms:

BACKGROUND

A The United States of America filed a Verified Complaint for Forfeiture In Rem
- against a 2005 C5500 Chevrolet Recreational Vehicle; a 2012 Toyota Scion 1Q; one piece of real
property at Truxillo Street and Dowling Street, Houston, Texas; and a Massage Therapist

Verification (“Defendant Properties”), on December 18, 2012. (Doe. No, 1).

| 2. The United States sent notice of the action to known potential claimants and
published, notice of the action in accordance with Rule G(4) of the Supplemental Rules for
Admiralty or Maritime Claims and Asset Forfeiture Actions. (Doc, No. 6).

x Claimant and the following taxing authorities were the only persons or entities to
respond to this action: Harris County, Texas; Houston ISD; Harris County Flood Control
District, Port of Houston Authority; Harris County Hospital District, Harris County Department

of Education; Houston Community College System, and City of Houston. (See Doc. Nos. 5, 8,
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and 9). No other claims and/or answers have been filed in this action, and pursuant to Rule G(S)
of the Supplemental Rules of Certain Admiralty Maritime Claims, Federal Rules of Civil
Procedure, the time for filing a claim and answer in this action has passed. All others should,
therefore, be held in default.
AGREEMENT
4. The parties stipulate that the following property is subject to forfeiture: 2005
C5500 Chevrolet Recreational Vehicle, VIN # 1GBESU1E15F505062; 2012 Toyota Scion IQ,
VIN # JTNIJXB06CJ010887; and one piece of real property at Truxillo Street and Dowling
Street, Houston, Texas.
5, Claimant agrees to pay to the United States $155,000.00, which is the fair market
value of the real property located at Truxillo Street and Dowling Street, Houston, Texas, in lieu
- of forfeiture of that property. Claimant agrees to pay the United States in the form of a cashier's
check made payable to the United States, or its designee, at or before the time of re-arraignment
- in the related criminal case (4:12-cr-503). Claimant understands and agrees that the funds used
to pay the United States in lieu of the forfeiture must be from a legitimate source and approved
of by the United States.

6. Claimant understands and agrees that he is and will remain liable for any unpaid
ad valorem taxes on the real property located at Truxillo Street and Dowling Street, Houston,
Texas.

7: Claimant — to the forfeiture of the 2005 C5500 Chevrolet Recreational
Vehicle, VIN # 1GBESUIE15F505062.

8. Claimant agrees to the forfeiture of the 2012 Toyota Scion IQ,
VIN #JTNJJXB06CIO10887. |

9. Claimant’s Massage Therapist Verification/license! expired May 2013, therefore,

that asset is moot.
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10. Claimant hereby waives any and all claims that he has or. might have against the

United States of America, the United States Department of Justice, the United States Customs

and Border Protection, the Department of Homeland Security, and all agents, officers, and

employees thereof (hereinafter the “Released Parties”), relating to the seizure or forfeiture of

Defendant Properties.

11. Each party agrees to bear its own costs, attorney’s fees, and expenses.

PRAYER

~ Wherefore, the United States and Claimant request that the Court sign the Agreed Final

Judgment of Forfeiture.

Respectfully submitted,

KENNETH MAGIDSON
UNITED STATES ATTORNEY

s/ E. Vincent Carroll
E. Vincent Carroll
Assistant U.S. Attorney
SDTX Admission No. 1804030
1000 Louisiana, Suite 2300
Houston, TX 77002
Phone: (713) 567-9000; Fax: (713) 718-3404
Email: Vincent.Carroll@usdoj.gov
Attorneys for Plaintiff United States of America

s/ Dan Cogdell
Dan Cogdell

Texas Bar No. 0450150

The Cogdell Law Firm, PLLC

402 Main Street, 4" Bloor

Houston, Texas 77009

Phone: (713) 426-2244; Fax: (713) 426-2255

Email: dan@cogdell-law.com
Attorney for Claimant Jason Gandy

APPROVED IN FORM AND SUBSTANCE BY:

 

Jason Gandy, Claimant

Date
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
v.

2005 C5500 Chevrolet Recreational
Vehicle; 2012 Toyota Scion IQ; One
Piece of Real Property at Truxillo Street
-and Dowling Street, Houston, Texas;
and Massage Therapist Verification,
Credential Number MT023870,

File Number 37235, —

CIVIL NO. 4:12-cv-03668

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Defendants.

AGREED FINAL JUDGMENT OF FORFEITURE

The patties have announced to the Court that all matters in dispute have been resolved.
The Court finds that proper notice and publication have been given to all potential claimants, the
time for filing a verified statement of interest has expired, and but for Jason Gandy and various
taxing authorities’, there are no claimants before the Court. All other persons having any right,
title, or interest in defendants 2005 C5500 Chevrolet Recreational Vehicle; 2012 Toyota Scion
1Q; One Piece of Real Property at Truxillo Street and Dowling Street, Houston, Texas; and
Massage Therapist Verification, Credential Number MT023870, File Number 37235, except for
Jason Gandy and the various taxing authorities, are held in default.

The parties Joint Motion for Agreed Final J udgment of Forfeiture is GRANTED, and it is

accordingly ORDERED that:

 

1 The following taxing authorities filed a claim in this action asserting an interest in the real property
located at Truxillo Street and Dowling Street, Houston, Texas: Harris County, Texas; Houston ISD;
Harris County Flood Control District, Port of Houston. Authority; Harris County Hospital District; Harris
County Department of Education; Houston Community College System; and City of Houston.
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L. The sum of $155,000.00 is forfeited to the United States of America in lieu of the
forfeiture of the real property located at Truxillo Street and Dowling Street, Houston, Texas, and
the United States of America shall dispose of the $155,000.00 in accordance with applicable law %

2. The 2005 C5500 Chevrolet Recreational Vehicle, VIN # 1IGBESUIEI5F505062,
5 forfeited to the United States of America, and the United States of America shall dispose of the
2005 €5500 Chevrolet Recreational Vehicle in accordance with applicable law;

3. The 2012 Toyota Scion IQ, VIN # JINITXB06CJ010887, is forfeited to the
United States of America, and the United States of America shall dispose of the 2012 Toyota
Scion 1Q in accordance with applicable law;

4. The Massage Therapist Verification, Credential Number MT023870, File Number
37235, has expired, so that asset is moot;

5. The claimant, Jason Gandy, shall hold the United States of America, including the
United States Department of Justice, the United States Customs and Border Protection, the
Department of Homeland Security, and all agents, officers, and employees thereof harmless for
any and all damages or causes of action of any kind or nature whatsoever dating to this action;

6, All other persons or entities, other than the claimant Jason Gandy and the various
taxing sothontbe who could assert an interest in defendants.2005 C5500 Chevrolet Recreational
Vehicle; 2012 Toyota Scion IQ; One Piece of Real Property at Truxillo Street and Dowling
Street, Houston, sae and Massage Therapist Verification, Credential Number MT023870,

File Number 37235, are held in default; and
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7. The United States of America and the claimant Jason Gandy shall bear their own

costs, including attorney’s fees and expenses.
THIS IS A FINAL JUDGMENT.

Signed this _ day of _, 2014.

 

LEE H. ROSENTHAL
United States District Judge
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7-ek, Sherri (USATXS)

 

rium: Zack, Sherri (USATXS) :
Sent: — Tuesday, August 26, 2014 4:31 PM

To: Charles Flood

Subject: RE: Gandy plea set for 9/3

Charles,

| am still trying to get in touch with Vince about the appraisal. | will get you the documents as soon as lcan. As for the
supervised release we can leave it up to the Court at sentencing.

Thanks,
Sherri

 

From: Charles Flood [mailto:Charles@floodandflood.com]
Sent: Tuesday, August 26,2014 11:55 AM

To: Lisa_Eddins@txs.uscourts.gov

Cc: dan@cogdell-law.com; Zack, Sherri (USATXS)
Subject: Re: Gandy plea set for 9/3

That's fine from our side. I will be handling the plea for the defense as Dan will be in trial in Iowa. I need to talk
_ to Sherri because I missed some of the flurry leading up to the last plea date - but I don't anticipate any
‘ediments (but with this case you never know).

Charles Flood
On Aug 26, 2014, at 11:48 AM, "Lisa Eddins@txs.uscoutts. gov" <Lisa Eddins@txs.uscourts.gov> wrote:

| am sending this case to Judge Milloy for a plea next week. Judge Rosenthal is
referring all pleas to Judge Milloy as we prepare for trial for the month of September.
Please advise ASAP if you have an issue with this. It is for the purpose of taking the

plea only.

Plus | need plea documents sent to me so that | can prepare the file for Judge Milloy.
She intends to hold the plea on the same day but at 11:00 rather than 10:00 as | had.

Thanks,
Lisa
<ATT00001.git>

   
 

> GOVERNMENT
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7-el, Sherri (USATXS)

rium: Zack, Sherri (USATXS)

Sent: Thursday, August 28, 2014 8:19 AM
To: Charles Flood (Charles@floodandflood,com)
' Subject: gandy
Charles, :
| added it under Plea Binding — Southern District of Texas Only. | think it is paragraph 9.
Thanks,

[Por |

 

plea agreement -
Gandy- 11(o)C..

Sherri

2 GOVERNMENT

 
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h
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
V. : CRIMINAL NO, 12-503
JASON GANDY :
Defendant. §
PLEA AGREEMENT

 

The United States of America, by and through Kenneth Magidson, United States Attorney,
for the Southern District of Texas and Sherri L. Zack, Assistant United States Attorney, and the
defendant, Jason Gandy, and the defendant's counsel, Dan Cogdell, pursuant to Rule 11(c)(1)(C)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

The Defendant’s Agreement
1. Defendant agrees to plead guilty to Count(s) One of the Indictment. Count One charges
the defendant with Transportation of Minors, in violation of Title 18, United States Code, §
2423(a). Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the re makes essential to the punishment either charged in the Indictment or proven to a jury
or judge beyond a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
§ 2423(a), is a term of imprisonment of not less than 10 years up to Life and a fine of not more than
$250,000.00, Additionally, Defendant shall receive a term of supervised release after
imprisonment of at least 5 years up to Life. Title 18, United States Code, §§ 3559(a) and 3583(b).

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Defendant acknowledges and understands that if he/she should violate the conditions of any period
of supervised release which may be imposed as part of his/her sentence, then Defendant may be
imprisoned for the entire term of supervised release, without credit for time already served on the
term of supervised release prior to such violation. ‘Title 18, United States Code, §§ 3559(a) and
3583(e)(3). Defendant understands that he/she cannot have the imposition or execution of the
sentence suspended, nor is he/she eligible for parole. |

3. The defendant understands that under the Sex Offender Registration and
Notification Act, the defendant must register and keep such information current in the jurisdictions
where the defendant resides, is employed, and is a student. The defendant further understands
that the requirement to keep the registration current includes informing such jurisdictions not later
than three (3) business days after any change of the defendant’s iat residence, employment or
student status. The defendant understands.that failure to comply with these obligations subjects
the defendant to prosecution for failure to register under federal law, specifically, Title 18, United
States Code, Section 2250, as well as applicable state statutes.

Mandatory Special Assessment

4. Pursuant to Title 18, U.S.C. § 3013(@)@)(A), immediately after sentencing,
defendant will pay to the Clerk of the United States District Court a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order payable to the Clerk of the United States District Court, c/o
District Clerk's Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Fine, Reimbursement and Restitution’

5. Defendant understands that under the Sentencing Guidelines, the Court is permitted

to order the defendant to pay a fine that is sufficient to reimburse the government for the costs of

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any imprisonment or term of supervised release, if any is ordered.

6. Defendant understands that under the Sentencing Guidelines and applicable federal
law, in the case of an identifiable victim, the Court may order restitution if authorized by law and
requested by a victim.

a Defendant agrees that any fine or restitution imposed by the Court will be due and

‘payable immediately, and defendant will not attempt to avoid or delay payment. Defendant
further agrees not to contest the forfeiture of the items described in the indictment

8. Defendant agrees to make complete financial disclosure by truthfully executing a |
sworn financial statement (Form OBD-500) prior to sentencing if he/she is requestedtodoso. In
the event that the Court imposes a fine or orders the payment of restitution as part of the
Defendant's sentence, the Defendant shall make complete financial disclosure by truthfully
executing a sworn financial staieinent immediately following his/her sentencing. |

Agreement Binding - Southern District of Texas Only

9. The United States agrees that it will not further criminally prosecute Defendant in
the Southern District of Texas for offenses arising from conduct charged in the Indictment. This
Plea Agreement binds only the United States Attorney's Office for the Southern District of Texas
and Defendant. It does not bind any other United States Attorney. The United States will bring

this Plea Agreement and the full extent of Defendant's cooperation to the attention of other

prosecuting offices if requested,

Waiver of Appeal
10. Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. The defendant agrees to waive the right to appeal the sentence

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imposed or the manner in which it was determined on any grounds set forth in Title 18 U.S.C. §
3742. Additionally, the defendant is aware that Title 28, U.S.C. § 2255, affords the right to
contest or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant waives the right to contest his/her conviction or sentence by means
of any post-conviction proceeding. In the event the Defendant files a notice of appeal following
the imposition of the sentence, the United States will assert its rights under this agreement and seek
specific performance of this waiver.

11. In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and the statute
of limitations with respect to any prosecution that is not time barred on the date that this
Agreement is signed, in the event that (a) Defendant’s conviction is later vacated for any reason,
(b) Defendant violates any provision of this Agreement, or (c) Defendant's plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has‘not yet been
determined bythe Court. The defendant is also sss that any estimate of the possible pita
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction, not a promise, did not induce his/her guilty
plea, and is not binding on the United States, the Probation Office or the Court, The United States
does not make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must

take them into account when sentencing Defendant, the Court is not bound to follow the

Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

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13. The Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by. the United States in this plea

agreement.
The United States’ Agreements
14. The United States agrees to each of the following:

(a) At the time of sentencing, the United States agrees not to oppose defendant's
anticipated request to the Court and the United States Probation Office that he/she
receive a two (2) level downward adjustment pursuant to U.S.S.G. Section
3E1.1(a) should the defendant accept responsibility as contemplated by the
Sentencing Guidelines.

(b) If the defendant qualifies for an adjustment under U.S.S.G. Section 3E1.1(a), the
United States agrees not to oppose the defendant's request for an additional one
level departure based on the timeliness of the plea or the expeditious manner in
which the defendant provided complete information regarding his role in the
offense if the defendant's offense level is 16 or greater.

“(c) The United States agrees at the time of sentencing to request a sentence of 10 years
on Count One. The term of imprisonment is to be followed by a term of Life on
supervised release. The United States agrees that the amount of any fine imposed
rests with the Court. The United States agrees that this recommendation will bind
the Court, if this agreement is accepted, pursuant to Rule 11(c)(1)(©).

United States’ Non-Waiver of Appeal

15. The United States reserves the right to carry out its responsibilities under the

t

sentencing guidelines. Specifically, the United States reserves the right:

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(a) io bring its version of the facts of this case, including its \evidence file and any
investigative files, to the attention of the Probation Office in connection with that
office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with defendant's counsel
and the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G. Section

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6A1.2 and Title 18, U.S.C.§ 3553(a).

Sentence Determination

16. Defendant is aware that the sentence will be imposed after consideration of the
United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as
‘the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has aaiedty to impose any sentence up to and including the statutory maximum set
for the offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is within
the sole discretion of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines, Defendant understands and agrees the parties’ positions regarding the application of
the Sentencing Guidelines do not bind the Court until the Court accepts the plea agreement. ifthe
Court accepts the plea agreement, Defendant will remain bound to fulfill all of the obligations
under this plea agreement. If the Court rejects the plea agreement, Defendant will be given an
opportunity to withdraw his plea of guilty. |

Rights at Trial

17. Defendant represents to the Court that he is satisfied that his/her attorney has
rendered effective assistance. Defendant understands that by entering into this agreement, he/she
surrenders certain rights as provided in this plea agreement. Defendant understands that the
rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant would have
the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the defendant, the United States, and
the court all agree.

(b) At a trial, the United States would be required to present witnesses and other
evidence against the defendant. Defendant would have the opportunity to confront

those witnesses and his/her attorney would be allowed to cross-examine them. In

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turn, the defendant could, but would not be required to, present witnesses and other
evidence on his/her own behalf. If the witnesses for defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court.

(c)  Atatrial, defendant could rely on a privilege against self-incrimination and decline
to testify, and no inference of guilt could be drawn from such refusal to testify.
However, if the defendant desired to. do so, he/she could testify on his/her own
behalf.

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Factual Basis for Guilty Plea
~ Te, Defendant is pleading guilty because he is guilty of the charges contained in Count
One of the Indictment. If this case were to proceed to trial, the United States could prove each
element of the offenses charged in each count beyond a reasonable doubt. The parties agree that
this factual basis does not include all relevant conduct that may be considered by the Court for

sentencing purposes. The following facts, among others would be offered to establish the

Defendant's guilt:

On July 19, 2012, Jason Gandy (GANDY) arrived in the United'Kingdom (UK) at
Heathrow International Airport aboard United Airlines Flight 4 which he boarded in Houston,
Texas. GANDY was traveling with a 15 year-old male KV (D.0.B. xx/xx/1997) KV is not
related to GANDY. ;

Upon landing in the UK, GANDY was inspected by UK Immigration (UK1) Officers of
the UK Border Agency and selected for secondary inspection. UK] authorities became
suspicious when GANDY was asked why he wanted to enter the UK and why he was traveling
with a minor child. UKI authorities were also concerned! as GANDY admitted that he was not-
related to KV and contacted KV’s mother. KV’s mother informed the UK] officers that she had
given KV permission to travel with GANDY, but also gave a conflicting reason as to the purpose
ofthe trip. Based upon interviews with GANDY, KV and KV's mother, UKI officials denied
GANDY and KV entry and made arrangements for them to immediately return to the United

States.
On or about, July 20, 2012, at approximately 1:35 pm (CDT), GANDY arrived at George

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Bush Intercontinental Airport in Houston, Texas, on United Airlines Flight 35. Bush
Intercontinental Airport is in Houston, Harris County, Texas and within the Southern District of
Texas. Upon disembarking the plane, GANDY was escorted by U.S. Customs and Border
Protection (CBP) officers to the secondary inspection area. During secondary inspection,
GANDY made a binding declaration to the CBP officers that the luggage and other items he was
carrying were his.

HSI SA Juanae Johnson along with Houston Police Department Detective Joseph Roscoe,
met with GANDY upon his arrival and questioned him as to the purpose of his trip to the United
Kingdom and his travel with KV. GANDY was advised of his Miranda rights and informed
that he was not under arrest. Gandy waived his rights and spoke willingly and voluntarily with
law enforcement about his travels to the UK with KV. The interview took place in the baggage
search area in the CBP secondary inspection area.

GANDY stated that he and KV had met through a mutual "friend" on the social
networking website “Facebook”. GANDY, who is 35 yeats- -old, knew KV was only 15 years of
age, however he did not disclose his age to the child.

Upon meeting KV, GANDY took him to the mall to celebrate his 15" birthday. GANDY
also admitted taking KV to a concert, and informed agents that he and KV began to develop a
friendship. GANDY admitted to lavishing KV with gifts in person and via the mail. GANDY
stated that he liked buying KV nice things, because K's family was unable to.

GANDY informed the agents that he is a licensed massage therapist and he buys and sells
real estate for a living. GANDY told agents that he owned and operated a massage business
known as, JasonRMT.com. The website indicates that GANDY performs massages for a fee
which must be paid in cash. Additionally, the itrpssagpin can be “incalls” or “outcalls” which
mean that either the customer comes to GANDY or he goes to the customer. The terms
“ncalls" and “outcalls" are terms frequently associated with prostitution and advertisements for
prostitution activities. GANDY informed the agents that KV spends the ni ght at least once a
week at his home.

KV was also interviewed and based on information provided by GANDY and the KV,

agents were able to establish KV was with GANDY almost every weekend. GANDY also told
agents that when they are together, he gives massages to KV. KV corroborated GANDY’s

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statement and informed agents that GANDY, on at least on one occasion, had masturbated him,
KV, during the massage session. GANDY told the agents that after every massage, GANDY
masturbates in KV’s presence, and on several occasions GANDY and KV have masturbated in
the presence of one another.

GANDY also told agents that on at least one occasion he has taken a nude picture of
K’V’s backside without his permission while they were at GANDY’S home. GANDY also
‘stated that he downloaded the picture on his laptop. KV confirmed that GANDY has taken
other photos of his nude backside at the home but he does not know where those photos are.
When asked to elaborate, KV indicated that he was joking with GANDY one day when they
were together about the photos. K'V took off his pants and then allowed GANDY to take nude
photos of him.

Personnel trained in child psychology from the Harris County Children’s Assessment
Center along with officers also interviewed KY. KV confirmed that GANDY runs a massage
business which he operates in his home and in the Recreational Vehicle (RV) located on the
property. KV was recruited by GANDY in May of 2012 to assist with GANDY’s massage
business and KV has done so up until the present. At GANDY'’s direction, K'V massages men
while they are completely nude. The men are also allowed to fondle KV’s genitals during the
massage sessions. IV was uncomfortable conducting massages in the nude and allowing the
men to touch him in the beginning. GANDY told KV that in order for them to continue to hang
out and make money together he had to allow the clients to touch him. During these massages
KV would also masturbate the men. K’V estimated that he has been paid between $400.00 and
$500.00 dollars since working for GANDY.

KV indicated that he has been instructed to massage certain clients alone on at least one
occasion. KV stated that he would “stay” in the RV while at GANDY ’s residence, and men
would enter the RV and tell KV “I am here for you." _K'V would massage these men alone while
in the nude and masturbate them. KV knew that GANDY was paid between $80.00 and $120.00
for the massage sessions. If GANDY alone provided what was referred to as a “single”
massage, the fee was $80.00. If both KV and GANDY provided what was referred to as a “four
hand" massage together, the fee was $120.00. Upon completion of each massage, the clients

paid GANDY, and then GANDY would pay KV between $20.00 and $40.00. KV went on to say

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that GANDY has a large clientele and GANDY is busy most of the time.

GANDY stated that he and KV recently began discussing taking a trip to England.
GANDY purchased both plane tickets (approximately $2150.00) and gave K'V money to
purchase an expedited passport (approximately $200.00). GANDY received a signed and
notarized affidavit form from K-V’s mother that authorized KV to travel with GANDY and
remain in the UK in GANDYS' custody from July 18, 2012 until August, 22, 2012. GANDY had
not reserved any accommodations in the UK and was intending on finding a place to stay once
they landed in the UK.

During the secondary search of GANDY’s personal belongings, CBP officers discovered
approximately 90 condoms. When agents questioned GANDY about the condoms he told agents
that he utilized the condoms for massaging his clients prostates, and he had some “hope” of
possibly using a couple of condoms with KV once in London.

KV also told interviewers that GANDY intended to start a massage business while in
London that was similar to the one he ran in the Houston area. KY stated that GANDY told
him that he was unaware of the laws in the UK governing the types of massages he would be
legally permitted to provide. KV also stated that on July 18", 2012, while they were waiting to
board their flight to the UK, GANDY informed KV that he had two clients waiting for them in
the UK. They were set to meet him between July 22" and July 24% 9012.

KV stated that GANDY promised KV that once in London he would possibly be able to
attend the Olympics, and that he would be taken to his favorite clothing store and be able to see
his favorite bands. KV was under the impression that he would be required to perform some
massages while he was in the UK but he was most excited about the shopping, the Olympics and
seeing his favorite bands.

Breach of Plea Agreement
19.  Ifdefendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and the defendant's plea and sentence will stand. If at any time defendant retains,

conceals or disposes of assets in violation of this plea agreement, or if defendant knowingly

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withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

20. Whether the defendant has breached any provision of this plea agreement shall be
deterttined solely by the United States through the United States Attorney's Office, whose
judgment in that regard is final.

Forfeiture

21. Defendant agrees to waive any and all interest in any asset which is the subject of
any related administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal, with the exception of the real property located at Truxillo Street and Dowling Street,
Houston, Texas. Defendant admits and agrees that the following assets, which are the subj ect of
the related civil forfeiture action styled United States of Amerion v. 2005 C5500 Chevrolet
Recreational Vehicle, et al., and pending before the Houston Division of the United States Distr ict
Court for the Southern District of Texas under Case No. 4:12-cv-3668, were used or intended to be
used to commit or to facilitate the commission of transportation of a minor with intent to engage in
criminal anil activity which form the basis of this criminal action:

A. The real property located at Truxillo Street and Dowling Street, Houston, Texas,

and legally described as:
Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in
Harris County, Texas, according to the map or plat thereof recorded in

Volume 557, Page 68 of the Deed Records of Harris County, Texas;

B. A. 2005 C5500 Chevrolet Recreational Vehicle, VIN # 1GBESU 1E15F505062; and

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Ay A 2012 Toyota Scion IQ, VIN # JTNJTXB06CJ010887.

22. Defendant agrees that he will sign an agreed judgment in the related civil forfeiture
action (Case No. 4:12-cy-3668) that will forfeit all right, title, and interest in the assets which are
the subject of that action, except for the real property located at Truxillo Street and Dowling Street,
Houston, Texas, to the United States. The terms of the agreed judgment will be as follows:

A. Defendant agrees to pay the United States a sum of money, equal to the fair market

value as dsnweiiand by the United States, of the real property located at Truxillo
Street and Dowling Street, Houston, Texas, in lieu of forfeiture of that property.
Defendant agrees to pay the United States in the form of a cashier's check made
payable to the United States, or its designee, at or before the time of ebeitalntent

B. Defendant understands and agrees that he is and will remain liable for any unpaid

ad valorem taxes on the real property referenced above.

C. Defendant agrees to allow/provide the United States, or its designee, access to the

real property for purposes of appraising the property.

D. Defendant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational

Vehicle, VIN # 1GBESULB1SF505062.
E. Defendant agrees to the forfeiture of the 2012 Toyota Scion IQ, VIN #
JTNJJXB06CJ010887.

23. Defendant waives the right to challenge the agreed judgment in the civil forfeiture
action referenced above in any manner (including by direct appeal, habeas corpus, or any other
means) and on any grounds, including that the forfeiture constitutes an excessive fine or
punishment. The defendant agrees to take all steps requested by the United States to pass clear
title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture

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proceeding.
Complete Agreement
24. — This written plea agreement, eioenaeti of 15 pages, including the attached
addendum of defendant and his/her attorney, constitutes the saialee plea agreement between the
United States, defendant and his/her counsel. No promises or representations have been made by
the United States except as set forth in writing in this plea agreement. Defendant acknowledges
that no threats have been made against him/her and that he/she is pleading guilty freely and

voluntarily because he/she is guilty.

25. Any modification of this plea agreement must be in writing and signed by all

 

 

 

 

 

 

parties.
Filed at Houston, Texas, on , 2014.
Jason Gandy .
Defendant
Subscribed and sworn to before me on , 2014.
UNITED STATES DISTRICT CLERK
By:
Deputy United States District Clerk
APPROVED:
KENNETH MAGIDSON
United States Attorney
By:
Sherri L. Zack Dan Cogdell
Assistant United States Attorney Attorney for Defendant

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v- : CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §

PLEA AGREEMENT - ADDENDUM

I have fully visnlained to defendant his/her rights with respect to the pending Indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
‘ and Policy Statements and I have fully and carefully explained to Defendant the provisions of
“those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, I have carefully reviewed as
part of this plea agreement with Defendant. To my knowledge, Defendant's decision to enter into

this agreement is an informed and voluntary one.

 

 

Dan Co gdell Date
Attorney for Defendant

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I have consulted with my attorney and fully understand all my rights with respect to the

Indictment pending against me. My attorney has fully explained and I understand all my rights

 

with respect to the provisions of the United States Sentencing Commission's Guidelines Manual
which may.apply in my case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

 

 

Jason Gandy Date
Defendant

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~ +k, Sherri (USATXS)

..om: Charles Flood <Charles@floodandflood.com>
Sent: Friday, August 29, 2014 1:10 PM

To: Zack, Sherri (USATXS); Dan Cogdell

Subject: Gandy. :
Attachments: image,jpeg; ATTO0001 txt

You can quit typing the new agreement - he signed the old agreement. He apparently doesn't
want "sex" in the offense name. He also said you can have the house - he apparently doesn't

have $155k

 

 
 

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ta tT ACL

Nil Seen TTY

 
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| Sherri (USATXS)

 

From: Zack, Sherri (USATXS)

Sent: Friday, August 29, 2014 1:16 PM
To: Charles Flood

Subject: RE: Gandy.

Charles,

| will not bore you with the time and energy that | spent re-working this deal.

Two things, one | am going to have to change some of the language as the plea reflects that he
is giving us money instead of the house and there will be a new forfeiture agreement for the
civil proceeding to reflect that. The second thing is the restitution. Where you able to agree

onan amount for JA???

Thanks,
Sherri

-Original Message-----
From: Charles Flood [mailto:Charles@floodandflood.com]

Sent: Friday, August 29, 2014 1:10 PM
To: Zack, Sherri (USATXS); Dan Cogdell
Subject: Gandy.

You can quit typing the new agreement - he signed the old agreement. He apparently doesn't
want "sex" in the offense name. He also said you can have the house - he apparently doesn't

have $155k

= GOVERNMENT
2 EXHIBIT

 

i Ja
1 )2-ch-S03
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5, Sherri (USATXS)

 

From: Zack, Sherri (USATXS)

Sent: Friday, August 29, 2014 1:29 PM
To: Charles Flood

Subject: RE: Gandy.

Let's go with $7500 for JA.

----- Original Message-----
From: Charles Flood [mailto:Charles@floodandflood.com]

Sent: Friday, August 29, 2014 1:28 PM
To: Zack, Sherri (USATXS)
Subject: Re: Gandy.

| told him | would negotiate - how about an even S5k?

Charles Flood

n Aug 29, 2014, at 1:16 PM, "Zack, Sherri (USATXS)" <Sherri.Zack@usdoj.gov> wrote:
>
> Charles,
> :
> | will not bore you with the time and energy that | spent re-working this deal.
>
_>Two things, one | am going to have to change some of the language as the plea reflects that
he is giving us money instead of the house and there will be a new forfeiture agreement for
the civil proceeding to reflect that. The second thing is the restitution. Where you able to
agree on an amount for JA???
>
> Thanks,
> Sherri
>
> -----Original Message--—-
> From: Charles Flood [mailto:Charles@floodandflood.com]
> Sent: Friday, August 29, 2014 1:10 PM
~ To: Zack, Sherri (USATXS); Dan Cogdell
ubject: Gandy.

 
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a

~ You can quit typing the new agreement - he signed the old agreement. He apparently
sn't want "sex" in the offense name. He also said you can have the house - he apparently

uvesn't have $155k
>
>

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‘, Sherri (USATXS)

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From: Zack, Sherri (USATXS)

Sent: Friday, August 29, 2014 3:00 PM

To: Charles Flood (Charles@floodandflood.com)
Subject: gandy - plea agreement

Charles,

Here isthe most recent final version.
| will send the revised civil stuff when it is sent to me.
| will be very pleased when this is resolved.
Have a wonderful weekend.

«| BOF,

 

 

plea agreement -
Gandy- 11(c)l...

Sherri

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. : CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States Attorney,
for the Southern District of Texas and Sheri L. Zack, Assistant United States Attorney, and the
defendant, J site Gandy, and the defendant's counsel, Dan Cogdell, pursuant to Rule 11(c)(1)(C)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

The Defendant's Agreement
1. Defendant agrees to plead guilty to Count(s) One of the Indictment. Count One charges
the defendant with Transportation of Minors, in violation of Title 18, United States Code, §
2423(a). Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the law makes essential to the punishment either charged in the Indictment or proven to a jury
or judge beyond a reasonable doubt,
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
§ 2423(a), is aterm of imprisonment of not less than 10 years up to Life and a fine of not more than
$25 0,000.00. Additionally, Defendant shall receive a term of supervised release after
imprisonment of at least 5 years up to Life. Title 18, United States Code, §§ 3559(a) and 3583 (ik).

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Defendant acknowledges and understands that if he/she should violate the conditions of any period
of supervised release which may be imposed as part of his/her sentence, then Defendant may be

imprisoned for the entire term of supervised release, without credit for time already served on the
term of supervised release prior to such violation. Title 18, United States Code, §§ 3559(a) and
3583(e)(3). Defendant understands that he/she cannot have the imposition or execution of the
sentence suspended, nor is he/she eligible for parole.

3. The defendant understands that under the Sex Offender Regi stration and
Notification Act, thé defendant must register and keep such information current in the jurisdictions
where the defendant resides, is employed, and is a student. The defendant further understands
that the requirement to keep the registration current includes informirig such jurisdictions not later
than three (3) business days after any change of the defendant’s name, residence, employment or
student status. The defendant understands that failure to comply with these obligations subjects
ihe defendant to prosecution for failure to register under federal law, specifically, Title 18, United
States Code, Section 2250, as well as applicable state statutes.

Mandatory Special ‘aves

4, Pursuant to Title 18, U.S.C. § 3013(a)(2)(A), immediately after sentencing,
defendant will pay to the Clerk of the United States District Court a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier's check or money order payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Fine, Reimbursement and Restitution

5. Defendant understands that under the Sentencing Guidelines, the Court is permitted

to order the defendant to pay a fine that ig sufficient to reimburse the government for the costs of

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any imprisonment or term of supervised release, if any is ordered.

6. Defendant faelonsteit that under the Sentencing Guidelines and applicable federal
law, in the case of an identifiable victim, the Court may order restitution if authorized by law and
requested by a victim.

7. Defendant agrees that any fine or restitution imposed by the Court will be due and
payable immediately, and defendant will not attempt to avoid or delay payment. Defendant
further agrees not to contest the forfeiture of the items described in the indictment

8. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500) prior to sentencing ifhe/she isrequestedtodoso. In
the event that the Court imposes a fine or orders the payment of restitution as part of the
Defendant's sentence, the Defendant shall make complete financial disclosure by truthfully
executing a sworn financial statement immediately following his/her sentencing.

Agreement Binding - Southern District of Texas Only

¥, The United States agrees that it will not further criminally prosecute Defendant in
the Southern District of Texas for offenses arising from conduct charged in the Indictment. This
Plea Agreement binds only the United States Attorney's Office for the Southern District of Texas
and Defendant. It does not bind any other United States Attorney. The United States will bring
this Plea Agreement and the full extent of Defendant's cooperation to the attention of other
prosecuting offices if requested.

Waiver of Appeal

10, Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. The defendant agrees to waive the right to appeal the sentence
imposed or the manner in which it was determined on any grounds set forth in Title 18 US.C. §

a
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3742. Additionally, the defendant is aware that Title 28, U.S.C. § 2255, affords the right to
sate or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant waives the right to contest his/her conviction or sentence by means
of any post-conviction proceeding. In the event the Defendant files a notice of appeal following
the imposition of the sentence, the United States will assert its rights under this agreement and seek |
specific performance of this waiver.

La In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and the statute
of limitations with respect to any prosecution that is not time barred on the date that this
Agreement is signed, in the event that (a) Defendant's conviction is later vacated for any reason,
(b) Defendant violates any provision of this Agreement, or (c) Defendant's plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has not yet been
determined by the Court. The defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction, not a promise, did not induce his/her guilty
plea, and is not binding on the United States, the Probation Office or the Court. The United States
does not make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the
Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

13. The Defendant understands and agrees that each and all waivers contained in the

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Agreement are made in exchange for the concessions made by the United States in this plea

agreement.

The United States’. Agreements
14, The United States agrees to each of the following:

(a) At the time of sentencing, the United States agrees not to oppose defendant’s
anticipated request to the Court and the United States Probation Office that he/she
receive a two (2) level downward adjustment pursuant to U.S.S.G. Section
3E1.1(a) should the defendant accept responsibility as contemplated by the
Sentencing Guidelines.

(b) If the defendant qualifies for an adjustment under U.S.S.G. Section 3E1.1(a), the
United States agrees not to oppose the defendant's request for an additional one
level departure based on the timeliness of the plea or the expeditious manner in
which the ‘defendant provided complete information regarding his role in the
offense if the defendant's offense level is 16 or greater.

(c) The United States agrees at the time of sentencing to request a sentence of 10 years
on Count One. The term of imprisonment is to be followed by a term of at least 5
years on supervised release. The United States agrees to leave the term of years of
supervised release beyond the mandatory 5 years up to the Court. This does not
prevent the United States from arguing for more than 5 years up to Life. ‘The
United States agrees that the amount of any fine imposed rests with the Court. The
United States agrees that this recommendation will bind the Court, if this
agreement is accepted, pursuant to Rule 11(c)(1)(C).

United States’ Non-Waiver of Appeal

15. The United States reserves the right to carry out its responsibilities under the

sentencing guidelines. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with that
office's preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with defendant's counsel
and the Probation Office; and,
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(d) to file a pleading relating to these issues, in nouendance with U.S.S.G. Section
6A1.2 and Title 18, U.S.C.§ 3553(a).
Sentence Determination
16. Defendant is aware that the sentence will be imposed after consideration of the
United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as
the provisions of Title 18, US.C. § 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has authority to impose any sentence up to and including the statutory maximum set
for the offense(s) ie which Defendant pleads guilty, and that the sentence to be imposed is within
the sole discretion of the sentencing judge after the Court has consulted the applicable Sentencin g
Guidelines. Defendant understands and agrees the parties’ positions regarding the application of
the Sentencing Guidelines do not bind the Court until the Court accepts the plea agreement. Ifthe
Court accepts the plea agreement, Defendant will remain bound to fulfill all of the obligations
under this plea agreement. “If the Court rejects the plea agreement, Defendant will be given an
opportunity to withdraw his plea nf guilty. s
Rights at Trial
17, Defendant represents to the Court that he is satisfied that his/her attorney has
rendered effective assistance. Defendant mnderstands that by entering into this agreement, he/she
<font certain rights as provided in this plea agreement. Defendant understands that the
rights of a defendant include the following: |
(a) If defendant persisted in a plea of not guilty to the charges, defendant would have
the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the defendant, the United States, and

the court all agree.

(b) Ata trial, the United States would be required to present witnesses and other
- evidence against the defendant. Defendant would have the opportunity to confront

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those witnesses and his/her attorney would be allowed to cross-examine them. In
turn, the defendant could, but would not be required to, present witnesses‘and other
evidence on his/her own behalf. If the witnesses for defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court.

(c)  Atatrial, defendant could rely on a privilege against self-incrimination and decline
' to testify, and no inference of guilt could be drawn from such refusal to testify.
, However, if the defendant desired to do so, he/she could testify on his/her own

behalf.
Factual Basis for Guilty Plea
18. Defendant is pleading guilty because he is guilty of the charges contained in. Count
One of the Indictment, If this case were to proceed to trial, the United States could ptove each
element of the offenses charged in each count beyond a reasonable doubt. The parties agree that
this factual basis does not include all relevant conduct that may be oaugdieed by the Court for

sentencing purposes. The following facts, among others would be offered to establish the

’ Defendant’s guilt:

On July 19, 2012, Jason Gandy (GANDY) arrived in the United Kingdom (UK) at
Heathrow International Airport aboard United Airlines Flight 4 which he boarded in Houston,
Texas. GANDY was traveling with a 15 year-old male KV (D.0.B. xx/xx/1997) KV is not
related:to GANDY.

Upon landing in the UK, GANDY was inspected by UK Immigration (UKD) Officers of
the UK Border Agency and selected for secondary inspection. UKI authorities became
suspicious when GANDY was asked why he wanted to enter the UK and why he was traveling
with a minor child. UKI authorities were also concermed as GANDY admitted that he was not
related to KV and contacted KV’s mother. KV’s mother informed the UKI officers that she had

given KV permission to travel with GANDY, but also gave a conflicting reason as to the purpose
of the trip. Based upon interviews with GANDY, KV and KV’s mother, UKI officials denied
GANDY and KV entry and made arrangements for them to immediately return to the United

States.
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On or about, July 20, 2012, at approximately 1:35 pm (CDT), GANDY arrived at George
Bush Intercontinental Airport in Houston, Texas, on United Airlines Flight 35. Bush
Intercontinental Airport is in Houston, Harris County, Texas and within the Southern District of
Texas. Upon disembarking the plane, GANDY was escorted by U.S. Customs and Border
Protection (CBP) officers to the secondary inspection area. During secondary inspection,
GANDY made a binding declaration to the CBP officers that the luggage and other items he was
carrying were his.

HSI SA Juanae Johnson along with Houston Police Department Detective J oseph Roscoe,
met with GANDY upon his arrival and questioned him as to the purpose of his trip to the United
Kingdom and his travel with KV. GANDY was advised of his Miranda rights and informed
that he was not under arrest, Gandy waived his rights and spoke willingly and voluntarily with
law enforcement about Kis travels to the UK.with KV. The interview took place in the baggage
search area in the CBP secondary inspection area.

GANDY stated that he and KV had met through a mutual "friend" on the social
networking website “Facebook”. The original communications between the parties was via the
internet, a means and facility of interstate commerce. ~ GANDY, who is 35 years-old, knew KV
was only 15 years of age, however he did not disclose his age to the child.

Upon meeting KV, GANDY took him to the mall to celebrate his 15" birthday around
April of 2012. GANDY also admitted taking KV to a concert, and informed agents that he and
KV began to develop a friendship. GANDY admitted to lavishing KV with gifts in person and
via the mail. GANDY stated that he liked buying KV nice things, because KV's family was
unable to.

GANDY informed the agents that he is a licensed massage therapist and he buys and sells
real estate for a living. GANDY told agents that he owned and operated a massage business
known as, JasonRMT.com. The website, where he advertises on line, indicates that GANDY
performs massages for a fee which must be paid in cash. Additionally, the massages can be
“incalls” or “ outcalls” which mean that either the customer comes to GANDY or he goes to the
customer. The terms “incalls” and “outcalls” are terms frequently associated with prostitution

and advertisements for prostitution activities. GANDY informed the agents that KV spends the

night at least once a week at his home.
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KV was also interviewed and based on information provided by GANDY and the KV,
agents were able to establish KV was with GANDY almost every weekend. GANDY also told
agents that when they are together, he gives massages to KV. KV corroborated GANDY’s
statement and informed agents that GANDY, on at least on one occasion, had masturbated him,
KV, during the massage session. GANDY told the agents that after every massage, GANDY
masturbates in KV’s presence, and on several occasions GANDY and KV have masturbated in
the presence of one another. .

GANDY also told agents that on at least one occasion he has taken a nude picture of
KV’s backside without his permission while they were at GANDY’S home. GANDY also
stated that he downloaded the picture on his laptop. KV confirmed that GANDY has taken
other photos of his nude backside at the home but he does not know where those photos are.
When asked to elaborate, K'V indicated that he was joking with GANDY one day when they
were together about the photos. KYV took off his pants and then allowed GANDY to take nude
photos of him. /

Personnel trained in child psychology from the Harris County Children’s Assessment
Center along with officers also interviewed KV. KV confirmed that GANDY runs a massage
business which he operates in his home, 2320 Truxillo, Houston, TX 77004, and in the
Recreational Vehicle (RV) located on the property. KV was recruited by GANDY in May of
9.012 to assist with GANDY’s commercial sex operation, aka “massage” business and KV has
done so up until the present. At GANDY's direction, KV massages men while they are
completely nude. The men are also allowed to fondle K'V’s genitals during the “massage”
sessions. KV was uncomfortable conducting massages in the nude and allowing the men to
touch him in the beginning. GANDY told KV that in order for them to continue to hang out and
make money together he had to allow the clients to touch him. During these “massages” KV
would also masturbate the men. KV estimated that he has been paid between $400.00 and
$500.00 dollars since working for GANDY.

KV indicated that he has been instructed to “massage” certain clients alone on at least
one occasion. KV stated that he would “stay” in the RV while at GANDY'’s residence, and men
~ would enter the RV and tell KV “I am here for you.” KV would “massage” these men alone

while in the nude and masturbate them. KV knew that GANDY was paid between $80.00 and

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$120.00 for the “massage” sessions. If GANDY alone provided what was referred to as. a
“single” massage, the fee was $80.00. If both KV and GANDY participated in a commercial
sex act, which was referred to as a “four hand” massage, together the fee was $120.00. Upon
completion of each commercial sex act, the clients paid GANDY, and then GANDY would pay
KV between $20.00 and $40.00. KV went on to say that GANDY has a large clientele and
GANDY is busy most of the time.

GANDY stated that he and KV recently be gan discussing taking a trip to England.
GANDY purchased both plane tickets (approximately $2150.00) and gave KV money to
pur chase an expedited passport (approximately $200.00). GANDY received a signed and
notarized affidavit form from K-V’s mother that authorized KV to travel with GANDY and
remain in the UK in GANDYS’ custody from July 18, 2012 until August, 22, 2012. GANDY had —
not reserved any accommodations in the UK and was intending on finding a place to stay once
they landed in the UK.

During the secondary search of GANDY’s personal belongings, CBP officers discovered
approximately 90 condoms. When agents questioned GANDY about the condoms he told agents
that he utilized the condoms for massaging his clients prostates, and he had some “hope” of
possibly using a couple of condoms with KV once in London.

KV also told interviewers that GANDY intended to start a massage business while in
London that was similar to the one he ran in the Houston area. KY stated that GANDY told
him that he was unaware of the laws in the UK governing the types of massages he would be
legally permitted to provide, KV also stated that on July 18", 2012, while they were waiting to
board their flight to the UK, GANDY informed KV that he had two clients waiting for them in
the UK. They were set to meet him between July 22"4 and July 24 2012.

KV stated that GANDY promised KV that once in London he would possibly be able to
attend the Olympics, and that he would be taken to his favorite clothing store and be able to see
his favorite bands. KV was under the impression that he would be required to perform some

massages while he was in the UK but he was most excited about the shopping, the Olympics and

seeing his favorite bands.

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 58 of 169

Breach of Plea Agreement

19.  Ifdefendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and the defendant's plea and sentence will stand. If at any time: defendant retains,
conceals or disposes of assets in violation of this plea agreement, or if defendant knowingly
withholds evidence or is otherwise ‘it completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
* and documents that have been disclosed by defendant, whether prior to or subsequent to this lie:
agreement, and all leads derived therefrom, will be used against defendant mm any prosecution.

20. Whether the defendant has breached any provision of this plea agreement shall be
aaioenninad solely by the United States through the United States Attorney's Office, whose
judgment in that regard is final.

Forfeiture

91. Defendant agrees to waive any and all interest in any asset which is the subject of
any related administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal. Defendant admits and agrees that the following assets, which are the subject of ihe
related civil forfeiture action styled United States of America v. 2005 C5500 Chevrolet
Recreational Vehicle, et al., and pending before the Houston Division of the United States District
Court for the Southern District of Texas under Case No. 4:12-cv-3668, were used or intended to be
used to commit or to facilitate the commission of transportation of a minor with intent to engage in
criminal sexual activity which form the basis of this criminal action:

A. The real property located at Truxillo Street and Dowling Street, Houston, Texas,

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 59 of 169

and legally described as:
Lot Eleven 11, in Block Five (5) of Washington Terrace, ‘a subdivision in
Harris County, Texas, according to the map or plat thereof recorded in
Volume 557, Page 68 of the Deed Records of Harris County, Texas;

B. A 2005 C5500 Chevrolet Recreational Vehicle, VIN # IGBESUIE15F505062; and

C A 2012 Toyota Scion 1Q, VIN # JTNIJXBOGCIOLO887.

22, Defendant agrees that he will sign an agreed judgment in the related civil forfeiture
action (Case No. 4:12-cv-3668) that will forfeit all right, title, and interest in the assets which are
the subject of that action, to the United States. The terms of the agteed judgment will be as
follows:

A. Defendant agrees to the forfeiture of the real property located at Truxillo Street and

Dowling Street, Houston, Texas.

B. ° Defendant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational
Vehicle, VIN # 1GBESU1E15F505062.

C. Defendant agrees to the forfeiture of the 2012 Toyota Scion 1Q, VIN it
JINISXBO06CJ010887.

23. Defendant waives the right to challenge the agreed judgment in the civil forfeiture
action referenced above in any reused (including by direct appeal, habeas corpus, or any other
means) and on any grounds, including that the forfeiture constitutes an excessive fine or
punishment. The defendant agrees to take all steps requested by the United States to pass clear
title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding.

Complete Agreement

24. This written plea agreement, consisting of 15 pages, including the attached

12
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 60 of 169

a

addendum of defendant and his/her attorney, constitutes the complete plea agreement between the
United States, defendant and his/her counsel. No promises or representations have been made.by _
the United States except as set forth in writing in this plea agreement. Defendant acknowledges
that no threats have been made against him/her and that he/she is pleading guilty freely and

voluntarily because he/she is guilty.

25. Any modification of this plea agreement must be in writing and signed by all

 

 

 

 

 

parties.
Filed at Houston, Texas, on , 2014,
Jason Gandy
Defendant
Subscribed and sworn to before me on , 2014.
_ UNITED STATES DISTRICT CLERK
By:
Deputy United States District Clerk
APPROVED:
KENNETH MAGIDSON
United States Attorney
By: '
Sherri L. Zack Dan Cogdell
Assistant United States Attorney Attorney for Defendant

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 61 of 169

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v- : CRIMINAL NO, 12-503
JASON GANDY :
Defendant. — §

PLEA AGREEMENT - ADDENDUM

[ have fully explained to defendant his/her rights with respect to the pending Indictment. I

 

have reviewed the provisions of the United States Sentencing Commission's Guidelines Manual
and Policy Sactestats and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. 1 have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, [have carefully reviewed every
part of this plea agreement with Defendant. To my knowledge, Defendant's decision to enter into

this agreement is an informed and voluntary one.

 

 

Dan Cogdell Date
Attorney for Defendant

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 62 of 169

I have consulted with my attorney and fully understand all my rights with respect to the
Indictment pending against me. My attorney has fully explained and I understand all my rights
with respect to the provisions of the United States Sentencing Commission's Guidelines Manual
which may apply inmy case. [have read and carefully reviewed every part of this plea agreement

_with my attorney. 1 understand this agreement and I voluntarily agree to its terms.

 

 

Jason Gandy | Date
Defendant

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 63 of 169

«, Sherri (USATXS)

From: Zack, Sherri (USATXS)

Sent: Friday, August 29, 2014 3:38 PM
To: Charles Flood (Charles@floodandflood.com)
Subject: here is the civil stuff that he wil have to sign
| P0F |,
Joint Mot for Final,
Jdgt and P...

; GOVERNMENT
EXHIBIT

—
=z

 
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 64 of 169

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, §
Vv. §
§
2005 C5500 Chevrolet Recreational §
Vehicle; 2012 Toyota Scion IQ; One § CIVIL NO. 4:12-cv-03668
Piece of Real Property at Truxillo Street §
and Dowling Street, Houston, Texas; §
and Massage Therapist Verification, §
Credential Number MT023870, §
File Number 37235, §
Defendants. §

JOINT MOTION FOR AGREED FINAL JUDGMENT OF FORFEITURE
The United States of America, the claimant Jason Gandy (“Claimant”), through his
attorney, Dan Cogdell, and claimant various taxing authorities! (“Taxing Authorities”), through
their attorney, Lori Gruver, state that they have settled all matters in dispute in this iz rem

forfeiture action and agree to judgment on the following terms:

BACKGROUND

 

1. The United States of America filed a Verified Complaint for Forfeiture In Rem
against a 2005 C55 00 Chevrolet Recreational Vehicle; a 2012 Toyota Scion IQ; one piece of real
property at Truxillo Street and Dowling Street, Houston, Texas; and a Massage Therapist
Verification (“Defendant Properties”), on December 18, 2012. (Doc. No. 1).

2. The United States sent notice of the action to known potential claimants and
published notice of the action in accordance with Rule G(4) of the Supplemental Rules for

\
Admiralty or Maritime Claims and Asset Forfeiture Actions. (Doc. No. 6).

 

\ The following taxing authorities filed a claim in this action asserting an interest in the real property
located at Truxillo Street and Dowling Street, Houston, Texas; Harris County, Texas; Houston ISD;
Harris County Flood Control District, Port of Houston Authority; Harris County Hospital District; Harris
County Department of Education; Houston Community College System; and City of Houston.
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 65 of 169

3. Claimant and the Taxing Authorities were the only persons or entities to respond
to this action. (See Doc. Nos. 5, 8, and 9), No other claims and/or answers have been filed in
this action, and pursuant to Rule G(5) of the Supplemental Rules of Certain Admiralty Maritime
Claims, Federal Rules of Civil Procedure, the time for filing a claim and answer in this action
has passed. All others should, therefore, be held in default.

A, On Wednesday, September 3, 2014, Claimant pleaded guilty to one count of
transportation of minors with intent to engage in prostitution, in violation of 18 U.S.C. § 2423(a).
See United States v. Jason Gandy, 4:12-CR-503, United States District Court for the Southern
District of Texas, Houston Division.

AGREEMENT

5. The parties stipulate that the following property is subject to forfeiture: 2005.
C5500 Chevrolet Recreational Vehicle, VIN # SGBRSUIRISBSOG0SS; 2012 Toyota Scion IQ,
VIN # JINJIXB06CJ010887; and one piece of real property at Truxillo Street and Dowling
Street, Houston, Texas, and legally described as:

Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in Harris
County, Texas, according to the map or plat thereof recorded in Volume 557,
Page 68 of the Deed Records of Harris County, Texas.

6. The United States and Claimant recognize the claim_of the Taxing Authorities
asserted against the real property located at Truxillo Street and Dowling Street, Houston, Texas,
for delinquent taxes due and owing to the Taxing Authorities through the date of the final
judgment of forfeiture together with interest as allowed by law.

7. Claimant and the Taxing Authorities agree to the forfeiture of the real property at
Truxillo Street and Dowling Street, Houston, Texas.

8. Claimant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational

Vehicle, VIN # 1GBESU1E15F505062.
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 66 of 169

9, Claimant agrees to the forfeiture of the 2012 Toyota Scion IQ,

VIN # JTNITXB06CJO10887.

10,  Claimant’s Massage Therapist Verification/license expired May 2013, therefore,

that asset is moot.

11. Claimant hereby waives any and all claims that he has or might have against the
United States of America, the United States Department of Justice, the United States Customs
and Border Protection, the Department of Homeland Security, and all agents, officers, and
employees thereof (hereinafter the “Released Parties”), relating to the seizure or forfeiture of

Defendant Properties.

12, Each party agrees to bear its own costs, attorney’s fees, and expenses.

PRAYER
Wherefore, the United States, the Claimant, and the Taxing Authorities request that the

Court sign the Agreed Final Judgment of Forfeiture.
Respectfully submitted,

KENNETH MAGIDSON
UNITED STATES ATTORNEY

By: .s/E. Vincent Carroll
E. Vincent Carroll
Assistant U.S. Attorney
SDTX Admission No. 1804030
1000 Louisiana, Suite 2300
Houston, TX 77002
Phone: (713) 567-9000; Fax: (713) 71 8-3404
Email: Vincent.Carroll@usdo].gov
Attorneys for Plaintiff United States of America

s/ Lori Gruver
Lori Gruver
State Bar No. 24007283
Southern Admission No, 22963
Linebarger, Goggan, Blair & Sampson, LLP
P.O. Box 17428
Austin, Texas 78760
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 67 of 169

‘

Phone: (512) 447-6675; Fax (512) 693-0728

Email: LoriG@lgbs.com
Attorney for Taxing Authorities

s/ Dan Cogdell
Dan Cogdell

Texas Bar No. 0450150

The Cogdell Law Firm, PLLC

402 Main Street, 4" Floor

Houston, Texas 77009

Phone: (713) 426-2244; Fax: (713) 496-2255

Email: dan@cogdell-law.com
Attorney for Claimant Jason Gandy

APPROVED IN FORM AND SUBSTANCE BY:

 

Jason Gandy, Claimant

Date
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 68 of 169

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA, §

Plaintiff, §

Vv. §

§

2005 C5500 Chevrolet Recreational §
Vehicle; 2012 Toyota Scion IQ; One 8 CIVIL NO. 4:12-cv-03668

Piece of Real Property at Truxillo Street §

and Dowling Street, Houston, Texas; §

and Massage Therapist Verification, §

Credential Number MT023870, §

File Number 37235, §

Defendants. §

AGREED FINAL JUDGMENT OF FORFEITURE
The parties have announced to the Court that all matters in dispute te been resolved.
The Court finds that proper notice and publication have been given to all potential claimants, the
time for filing a verified statement of interest has expired, and but for Jason Gandy and various
taxing authorities’, there are no claimants before the Court. All other persons haying any right,
title, or interest in defendants 2005 C5500 Chevrolet Recreational Vehicle; 2012 Toyota Scion
1Q; One Piece of Real Property at Truxillo Street and Dowling Street, Houston, Texas, legally
described as: Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in Harris
County, Texas, according to the map or plat thereof recorded in Volume 557, Page 68 of the
Deed Records of Harris County, Texas; and Massage Therapist Verification, Credential Number
MT023870, File Number 37235, (Defendant Properties”) except for Jason Gandy (“Claimant”)

and the various taxing authorities (“Taxing Authorities”), are held in default. The Court also

 

2 The following taxing authorities filed a claim in this action asserting an interest in the real property
located at Truxillo Street and Dowling Street, Houston, Texas: Harris County, Texas; Honston ISD;
Harris County Flood Control District, Port of Houston Authority; Harris County Hospital District; Harris
County Department of Education; Houston Community College System; and City of Houston.
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 69 of 169

finds that the Complaint for Forfeiture Jn Rem against Defendant Properties sets forth sufficient
evidence to establish the forfeiture of Defendant Properties by a preponderance of the evidence.

The parties Joint Motion for Agreed Final Judgment of Forfeiture is GRANTED, and it is

accordingly ORDERED that:

1. The real property located at Truxillo Street and Dowling Street, Houston, Texas,

and legally described as:

Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in Harris
County, Texas, according to the map or plat thereof recorded in Volume 557,
Page 68 of the Deed Records of Harris County, Texas;
is forfeited to the United States of America, and all right, title, and interest in the real property
located at Truxillo Street and Dowling Street, Houston, Texas, are vested in the United States of

America. The United States of America shall dispose of the teal property in accordance with

applicable law;

2. Claimant and the Taxing Authorities shall execute all documents necessary to’
enable the United States to convey clear title to the real property located at Truxillo Street and

Dowling Street, Houston, Texas, at closing;

3. The United States shall pay to the Taxing Authorities all ad valorem taxes due and
owing to the Taxing Authorities through the date of the final judgment of forfeiture together with

interest as allowed by law;

4, The 2005 C5500 Chevrolet Recreational Vehicle, VIN # 1GBES5U1E15F505062,
is forfeited to the United States of America, and the United States of America shall dispose of the

2005 C5500 Chevrolet Recreational Vehicle in accordance with applicable law;
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 70 of 169

= The 2012 Toyota Scion IQ, VIN # JTNITXB06CJ010887, is forfeited to the
United States of America, and the United States of America shall dispose of the 2012 Toyota
Scion IQ in accordance with applicable law;

6. The Massage Therapist Verification, Credential Number MT023870, File Number
37235, has expired, so that asset is moot,

7: The Claimant shall hold the United States of America, including the United States
Department of Justice, the United States Customs and Border Protection, the Department of
Homeland Security, - all agents, officers, and employees thereof harmless for any and all
damages or causes of action of any kind or nature whatsoever relating to this action;

8. All other persons or entities, other than ihe Claimant and the Taxing Authorities,
who could assert an interest in defendants 2005 C5500 Chevrolet Recreational Vehicle; 2012
Toyota Scion 1Q; One Piece of Real Property at Truxillo Street and Dowling Street, Houston,
Texas; and Massage Therapist Verification, Credential os MT023870, File Number 37235,
are held in default; and

9. The United States of America, the Claimant, and the Taxing Authorities shall bear
their own costs, including attorney’s fees and expenses.

THIS IS A FINAL JUDGMENT. |

Signed this day of , 2014,

 

LEE H. ROSENTHAL
United States District Judge
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 71 of 169

«, Sherri (USATXS)

From: Zack, Sherri (USATXS)

Sent: Thursday, September 11, 2014 9:13 AM
To: Charles Flood

Subject: RE: Gandy

Thank you for letting me know before my agent got in the car. Keep me posted.

----- Original Message-----

From: Charles Flood [mailto:Charles@floodandflood.com]
Sent: Thursday, September 11, 2014 9:08 AM

To: Zack, Sherri (USATXS); Dan Cogdell

Cc; Cynthia_Jantowski@txs.uscourts.gov _

Subject: Gandy

This is to confirm that Gandy is off the docket for 10:00 am.
Sherri, Dan and | are going to have him mentally evaluated.

anks.for everyone's patience...

Charles Flood

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 72 of 169

c, Sherri (USATXS)

From: Zack, Sherri (USATXS)

Sent: Thursday, September 11, 2014 9:19 AM
To: Charles Flood

Subject: RE: Gandy

My pleasure.

-----Original Message-----

From: Charles Flood [mailto:Charles@floodandflood.com]
Sent: Thursday, September 11, 2014 9:17 AM |
To: Zack, Sherri (USATXS)

Subject: Re: Gandy

| mean it when | say thanks for your patience.

Charles Flood

n Sep 11, 2014, at 9:13 AM, "Zack, Sherri (USATXS)" <Sherri.Zack@usdoj.gov> wrote:

>
> Thank you for letting me know before my agent got in the car. Keep me posted.

> ==--- Original Message----- .

> From: Charles Flood [mailto:Charles@floodandflood.com]
> Sent: Thursday, September 11, 2014 9:08 AM

> To: Zack, Sherri (USATXS); Dan Cogdell

> Cc: Cynthia_Jantowski@txs.uscourts.gov

> Subject: Gandy

>

> This is to confirm that Gandy is off the docket for 10:00 am.
> Sherri, Dan and | are going to have him mentally evaluated.
>

> Thanks for everyone's patience..,

>

> Charles Flood

GOVERNMENT
EXHIBIT

 
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 73 of 169

«, Sherri (USATXS)

 

From: Zack, Sherri (USATXS) ~

Sent: Thursday, September 11, 2014 9:39 AM
To: Dan Cogdell :

Subject: RE: Gandy

No worries.

 

From: Dan Cogdell [mailto:dan@cogdell-law.com]
Sent: Thursday, September 11, 2014 9:36 AM

To: Cynthia_Jantowski@txs,uscourts.gov
Cc: Charles Flood; Zack, Sherri (USATXS); Lisa_Eddins@txs.uscourts.gov

Subject: Re: Gandy

Thank you and Charles and I apologize for any inconvenience this situation has caused.

Dan Cogdell
Cogdell Law Firm _
402 Main, 4th Floor
Houston, Tx 77007
13 426 2244 (0)
426 2255 (fax)

’ w ww.cogdell-law.com

dan@cogdell-law.com

\

On Sep 11, 2014, at 9:25 AM, "Cynthia Jantowski@txs.uscourts.gov" <Cynthia_J antowski(@txs.uscourts.gov>
wrote:

Today's rearraignment is cancelled. | have included Lisa Eddins on this email. You can get with her

regarding trial dates.

Thank you.

Cindy

From: Charles Flood <Charles@floodandflood.com>

To: Sherri Zack <sherri.zack@usdoj.gov>, Dan Cogdell <dan@coadell-law.com>
Cc: "Cynthia Jantowski@txs.uscourts.gov" <Cynthla_Jantowski@txs.uscourts.gov>
Date: 09/11/2014 09:07 AM ;
Subject: Gandy

This is to confirm that Gandy is off the docket for 10:00 am.
Sherri, Dan and I are going to have him mentally evaluated.

Thanks for everyone's patience...

 
, Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 74 of 169

Charles Flood
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 75 of 169

Charles Flood

Charles Flood

rrom:

Sent: Saturday, September 13, 2014 10:11 AM
To: Julie Gandy

Ce: Dan Cogdell

Subject: Re: Jason

\'m available Monday and Tuesday afternoons. I'm cc'ing Dan to see when he's available.

Charles Flood

On Sep 13, 2014, at 8:59 AM, “Julie Gandy” <jgandy79@gmail.com> wrote:

 

| wrote:

Please let me know if Monday or Tuesday is best for you. | have a secretary to cover on Monday but not
Tuesday unless | plan ahead. Whichever day it is, we'd need to be done by 4:30. If it isn't till
Wednesday, it would have to be in the morning, as | have to take my father somewhere in the
afternoon. Let us know so we can make plans.’

Thank you

Julie

On Sep 12, 2014 11:08 AM, "Julie Gandy" <jgandy79@gmail.com> wrote:

' Yes. We can make that happen. We'll be visiting with Jason on Sunday. It sounds like this something
| that he needs to know about asap. Can you visit him before then & let us know the outcome so we can

discuss with him? How soon would this decision need to be made?

~ Thanks

Julie

On Sep 12, 2014 10:43 AM, "Charles Flood" <Charles@floodandflood.com> wrote:

| I'd like to meet and discuss A potential strategy that would benefit Jason. There may be a way to keep
| new charges from being filed and give him more time to consider his decision. There is talk of Judge

| Rosenthal transferring the case to a different district court, it is a court that is not necessarily more
punitive (I think Dan would disagree with that, but both of these judges would be bad in this case) but
I believe is far less likely to give his motion to suppress the proper consideration.

| but we will have to act quickly, can you all come in early next week?

: Charles Flood

On Sep 12, 2014, at 10:37 AM, "Julie Gandy" <jgandy79@gmail.com> wrote:

Charles,
Please let us know as soon as a new trial schedule is set and/or more charges are

filed. We don't want to be caught off guard.
Thanks,
| Julie

On Thu, Sep 11, 2014 at 9:16 AM, Charles Flood <Charles@floodandflood.com>

Julie, | just want to let you know that the 10:00 plea is off. Judge Rosenthal's case
manager will be sending us a new trial schedule. | think we should sit down and talk

  
 

3 GOVERNMENT
2 EXHIBIT

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Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 76 of 169

in person about the next steps. Despite Jason's beliefs to the contrary, Dan and | are
trying to help him properly navigate this difficult situation - and so I want to know
that everyone is on board with what happens next.

Thanks,

Charles Flood
C285 SelFf5-EP RRSP BaineAPts “AREA TXSATh Baisiee Mfe’l G'2°9

UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF TEXAS Seutheae eeo
HOUSTON DIVISION FILED
AUG 15 2012

UNITED STATES OF AMERICA § Divi J ractoy, Clerk of court

§

§

§ :

vs. § CRIMINAL NO.

§

= 712CR 503
JASON DANIEL GANDY §

§

CRIMINAL INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

Transportation of Minors
On or about July 19, 2012, in the Southern District of Texas and elsewhere,
JASON DANIEL GANDY
defendant herein knowingly transported K.V., who had not attained the age of 18 years, in
interstate commerce and foreign commerce, from the State of Texas to the United Kingdom, with
the intent that K.V. engage in prostitution and other sexual activity for which any person could be
charged with a criminal offense.

In violation of Title 18, United States Code, Sections 2423(a).

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; GOVERNMENT
EXHIBIT

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By:

KENNETH MAGIDSON
United States Attorney

AED gh dos

Sherri L, Zack O
Assistant United States Attorney

713-567-9374

A True Bill:

Original Signature on File

 

Grand Jury Foréperson

18-20823.43
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Southern Disnees COU
rn parce of Texas

UNITED STATES DISTRICT COURT LED
SOUTHERN DISTRICT OF TEXAS SEP 17 2014

HOUSTON DIVISION
David J. Bratley, Cferk Of Cours
UNITED STATES OF AMERICA §
§
§
§
vs. § CRIMINAL NO. 12-5038
§
§
JASON DANIEL GANDY §
§

SUPERSEDING CRIMINAL INDICTMENT

THE GRAND JURY CHARGES THAT:

3 GOVERNMENT

 

INTRODUCTION :
At all times material to this Superseding Indictment: : » Se

pale The term "minor" is defined, pursuant to Title 18, United States Code, Section

2256(1), as "any person under the age of eighteen years."

2. The term "child pornography", for purposes of this Superseding Indictment, is
defined, pursuant to Title 18, United States Code, Section 2256(8)(A), as:
"any visual depiction, including any photograph, film, video, picture, or

computer or computer-generated image or picture, whether made or produced
by electronic, mechanical, or other means, of sexually explicit conduct, where

(A) the production of such visual depiction involves the use of a
minor engaged in sexually explicit conduct;

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Bs

The term "sexually explicit conduct" is defined, pursuant to Title 18, United

States Code, Section 2256(2), as any:

- "actual or simulated -

4.

(i) sexual intercourse, including genital [to] genital, oral [to]
genital, anal [to] genital, or oral [to] anal, whether between persons of
the same or opposite sex; [or]

(ii) bestiality; [or]

(iii) masturbation; [or]

(iv) sadistic or masochistic abuse; or

(v) [the] lascivious exhibition of the genitals or pubic area of any
person."

The term "computer" is defined, pursuant to Title 18, United States Code,

Sections 2256(6) and

1030(e)(1), as any:

"electronic, magnetic, optical, electrochemical, or other high speed data
processing device performing logical, arithmetic, or storage functions, and
includes any data storage facility or

communications facility directly related to or operating in conjunction with
such device, but such term does not include an automated typewriter or
typesetter, a portable hand held calculator or other similar device."

5. The term “producing” is defined, pursuant to Title 18, United States Code,

Section 2256(3), as:
“producing, directing, manufacturing, issuing, publishing or advertising,” and
includes downloading images from another source, buy using materials,
including a computer or parts thereof.

6. The term "visual depiction" is defined, pursuant to Title 18, United States

Code, Section

2256(5), as including, but is not limited to, any:

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"undeveloped film and videotape, and data stored on computer disk or by
electronic means which is capable of conversion into a visual image.”

COUNT ONE
Transportation of Minors

On or about July 19, 2012, in the Southern District of Texas and elsewhere,
JASON DANIEL GANDY,
defendant herein, knowingly transported K.V., who had not attained the age of 18
years, in interstate commerce and foreign commerce, from the State of Texas to the
United Kingdom, with the intent that K.V. engage in prostitution and other sexual

activity for which any person could be charged with a criminal offense.

In violation of Title 18, United States Code, Sections 2423(a).
COUNT TWO
Sexual Exploitation of Children
On or between April 1, 2012 and July 18, 2012, within the Southern
District of Texas,
JASON DANIEL GANDY,

defendant herein, did attempt to and did employ, use, persuade, induce, entice and
coerce a minor, namely K.V., to engage in any sexually explicit conduct for the
purpose of producing a visual depiction of such conduct, and such visual depiction

‘was transmitted using any means and facility of interstate or foreign commerce, and

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the visual depiction was produced using materials that had been mailed, shipped and
transported in or affecting interstate and foreign commerce.
In violation of Title 18, United States Code, Section 2251(a) & (e).

COUNT THREE
Transportation of Child Pornography

On or about July 19, 2012, in the Southern District of Texas and elsewhere,

JASON DANIEL GANDY,
defendant herein, knowingly transported any child pornography, as defined in Title
18, United States Code, Section 2256(8), using any means or facility of interstate or
foreign commerce.
In violation of Title 18, United States Code, Sections 2252A(a)(1) and (b).

NOTICE OF FORFEITURE
18 U.S.C. § 2428

Pursuant to Title 18, United States Code, Section 2428, the United States
gives notice to the defendant that in the event of conviction for the offense charged
in Count One of the Superseding Indictment, the following property is subject to
forfeiture:

(1) all property, real and personal, that was used or intended to be used to

commit or to facilitate the commission of the offense charged in Count One;

and

(2) all property, real and personal, constituting or derived from any

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proceeds obtained directly or indirectly, as a result of the offense charged in
Count One.

NOTICE OF FORFEITURE
18 U.S.C. § 2253(a)

Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the
United States gives notice to the defendant that in the event of conviction for the
offenses charged in Counts Two and Three of the Superseding Indictment, the
following property is subject to forfeiture:

(1) all property, real and personal, constituting or traceable to gross profits

or other proceeds obtained from the offenses charged in Counts Two and

Three; and

(2) all property, real and personal, used or intended to be used to commit or

to promote the commission of the offenses charged in Counts Two and Three,

or any property traceable to such property.
Property Subject to Forfeiture:

Defendant is notified that the property subject to forfeiture includes, but is not

limited to, the following property:

(1) _ the real property, improvements and appurtenances located at Truxillo
Street and Dowling Street, Houston, Texas, (Gandy’s Residence) and is

legally described as:

Lot Eleven (11), in Block Five (5) of Washington Terrace, a
subdivision in Harris County, Texas, according to the map or plat

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thereof recorded in Volume 557, Page 68 of the Deed Records of Harris
County, Texas;

(2) 2005 C5500 Chevrolet Recreational Vehicle, vehicle identification
number: 1GBESU1E15F505062; |
(3) one Acer Aspire laptop;

(4) one Motorola DroidX cell phone; and

(5) one Maxtor hard drive.

A True Bill:

ORIGINAL SIGNATURE ON FILE

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Grand Jury Freperson

KENNETH MAGIDSON
United States Attorney

By: Mor Z Cie
Sherri L. Zack
Assistant United ame ee
713-567-9374

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UNITED STATES DISTRICT COURT Sour sen ane tee
SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION FED 15 2019
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UNITED STATES OF AMERICA §

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§

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vs. § CRIMINAL NO. 12-5038S

§

§
JASON DANIEL GANDY §

§

CRIMINAL INDICTMENT
THE GRAND JURY CHARGES THAT:
INTRODUCTION

At all times material to this Indictment:

1. The term "minor" is defined, pursuant to Title 18, United States Code, Section 2256(1),

as "any person under the age of eighteen years."

2. The term "child pornography", for purposes of this Indictment, is defined, pursuant to
Title 18, United States Code, Section 2256(8)(A), as:

"any visual depiction, including any photograph, film, video, picture, or computer or
computer-generated image or picture, whether made or produced by electronic,
mechanical, or other means, of sexually explicit conduct, where -
(A) _ the production of such visual depiction involves the use of a minor
engaged in sexually explicit conduct;

3. The term "sexually explicit conduct" is defined, pursuant to Title 18, United States Code,

Section 2256(2), as any: > GOVERNMENT

"actual or simulated - EXHIBIT

 

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(i) sexual intercourse, including genital [to] genital, oral [to] genital, anal [to]
genital, or oral [to] anal, whether between persons of the same or opposite sex;

[or]

(ii) bestiality; [or]

(iii) masturbation; [or]

(iv) sadistic or masochistic abuse; or

(v) [the] lascivious exhibition of the genitals or pubic area of any person."

4, The term "computer" is defined, pursuant to Title 18, United States Code, Sections
2256(6) and

1030(e)(1), as any:

"electronic, magnetic, optical, electrochemical, or other high speed data processing
device performing logical, arithmetic, or storage functions, and includes any data

storage facility or
communications facility directly related to or operating in conjunction with such device,
but such term does not include an automated typewriter or typesetter, a portable hand

held calculator or other similar device,"
5, The term “producing” is defined, pursuant to Title 18, United States Code, Section
2256(3), as:

“producing, directing, manufacturing, issuing, publishing or advertising,” and includes

downloading images from another source, buy using materials, including a computer or
parts thereof.

6. The term "visual depiction" is defined, pursuant to Title 18, United States Code, Section
2256(5), as including, but is not limited to, any:

"undeveloped film and videotape, and data stored on computer disk or by electronic

means which is capable of conversion into a visual image.”

COUNT ONE
Transportation of Minors
On or about July 19, 2012, in the Southern District of Texas and elsewhere,
JASON DANIEL GANDY,

defendant herein, knowingly transported Minor Victim # 1, who had not attained the age of 18

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years, in interstate commerce and foreign commerce, from the State of Texas to the United
Kingdom, with the intent that Minor Victim #1 engage in prostitution and other sexual activity |

for which any person could be charged with a criminal offense.

In violation of Title 18, United States Code, Sections 2423(a),

COUNT TWO
Sexual Exploitation of Children

On or between April 1, 2012 and July 18, 2012, within the Southern District of
Texas,
JASON DANIEL GANDY,

defendant herein, did attempt to and did employ, use, persuade, induce, entice and coerce a
minor, namely Minor Victim # 1, to engage in any sexually explicit conduct for the purpose of
producing a visual depiction of such conduct, and such visual depiction was transmitted using
any means and facility of interstate or foreign commerce, and the visual depiction was produced
using materials that had been mailed, shipped and transported in or affecting interstate and
foreign commerce.

In violation of Title 18, United States Code, Section 2251(a) & (e).

COUNT THREE
Transportation of Child Pornography
On or about July 19, 2012, in the Southern District of Texas and elsewhere,
JASON DANIEL GANDY,

defendant herein, knowingly transported any child pornography, as defined in Title 18, United

States Code, Section 2256(8), using any means and facility of interstate and foreign commerce.

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In violation of Title 18, United States Code, Sections 2252A(a)(1) and (b).

COUNT FOUR
Sex Trafficking of Minors

From on or‘about April 1, 2012, through July 19, 2012, in the Southern District of

Texas and elsewhere,
JASON GANDY,

defendants herein, in and affecting interstate commerce, knowingly recruited, enticed, harbored,
transported, provided, obtained, advertised, maintained, patronized, and solicited by any means a
person, namely a minor male known as Minor Victim #1, who had attained the age of 14, but
was under 18, knowing and in reckless disregard of the fact that Minor Victim #1 had not
attained that age of 18 years and would be caused to engage in a commercial sex act, and |
benefitted financially and by receiving anything of value from participation in a venture which
has engaged in recruiting, enticing, harboring, transporting, providing, obtaining, advertising,
maintaining, patronizing, and soliciting by any means Minor Victim #1 knowing and in reckless
disregard of the fact that Minor Victim #1 had not attained the age of 18 years and would be
caused to engage in a commercial sex act,

In violation of Title 18, United States Code, Section 1591(a), (b) and 2.

COUNT FIVE
Sex Trafficking of Minors

From on or about November 1, 2006, through December 27, 2006, in the

Southern District of Texas and elsewhere,

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JASON GANDY,
defendants herein, in and affecting interstate commerce, knowingly recruited, enticed, harbored,
transported, provided, obtained, advertised, maintained, patronized, and solicited by any means a
person, namely ‘ minor male known as Minor Victim #2, who had attained the age of 14, but
was under 18, knowing and in reckless disregard of the fact that Minor Victim #2 had not
attained that age of 18 years and would be caused to engage in a commercial sex act, and
benefitted financially and by receiving anything of value from participation in a venture which
has engaged in recruiting, enticing, harboring, transporting, providing, obtaining, advertising,
maintaining, patronizing and soliciting by any means Minor Victim #2 knowing and in reckless
disregard of the fact that Minor Victim #2 had not attained the age of 18 years and would be
caused to engage in a commercial sex act.

In violation of Title 18, United States Code, Section 1591(a), (b) and 2.

COUNT SIX
Sex Trafficking of Minors

From on or about June |, 2005, through August 31, 2005, in the Southern District
of Texas and elsewhere,
JASON GANDY,
defendants herein, in and affecting interstate commerce, attempted to knowingly recruit, entice,
harbor, transport, provide, obtain, advertise, maintain, patronize and solicit by any means a
person, namely a minor male known as Minor Victim #3, who had attained the age of 14, but
was under 18, knowing and in reckless disregard of the fact that Minor Victim #3 had not

attained that age of 18 years and would be caused to engage in a commercial sex act, and

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attempted to benefitt financially and by receiving anything of value from participation in a
venture which attempted to engage in recruiting, enticing, harboring, transporting, providing,
obtaining, advertising, raaiitieirnis patronizing, and soliciting by any means Minor Victim #3
knowing and in reckless disregard of the fact that Minor Victim #3 had not attained the age of 18
years and would be caused to engage in a commercial sex act,

In violation of Title 18, United States Code, Section 1591(a), (b) and 2.

COUNT SEVEN
Sex Trafficking of Minors

From on or about August 1, 2007, through November 31, 2007, in the Southern

District of Texas and elsewhere,
JASON GANDY,

defendants herein, in and affecting interstate commerce, attempted to knowingly recruit, entice,
harbor, transport, provide, obtain, advertise, maintain, patronize and solicit by any means a
person, namely a minor male known as Minor Victim #4, who had attained the age of 14, but
was under 18, knowing and in reckless disregard of the fact that Minor Victim #4 had not
attained that age of 18 years and would be caused to engage in a commercial sex act, and
attempted to benefit financially and by receiving anything of value from participation in a
venture which attempted to engage in recruiting, enticing, harboring, transporting, providing,
obtaining, advertising, maintaining, patronizing, and soliciting by any means Minor Victim #4
knowing and in reckless disregard of the fact that Minor Victim #4 had not attained the age of 18
years and would be caused to engage in a commercial sex act.

In violation of Title 18, United States Code, Section 1591(a), (b) and 2.

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NOTICE OF FORFEITURE
18 U.S.C. § 2253(a)

Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States
gives the defendant notice that in the event of conviction for the offenses charged in Counts One
through Seven of the Indictment, the United States will seek to forfeit all property, real and
personal, constituting or traceable to gross profits or other proceeds obtained from the offenses
charged in Counts One through Seven; and all property, real and personal, used or intended to be
used to commit or to promote the commission of the offenses charged in Counts One through
Seven, or any property traceable to such property.

NOTICE OF FORFEITURE
18 U.S.C, § 1594(d)

Pursuant to Title 18, United States Code, Section 1594(d)(1) and (2), the United States
gives the defendant notice that in the event of conviction for the offenses charged in Counts Four
through Seven of the Indictment, the United States will seek to forfeit all property, real and
personal, that was involved in, used, or intended to be used to commit or to facilitate the
commission of such offenses, and any property traceable to such property, and all property, real or
personal, constituting or derived from, any proceeds that the Defendant obtained, directly or
indirectly, as a result of such offenses, or any property traceable to such property.

Property Subject to Forfeiture:
Defendant is notified that the property subject to forfeiture includes, but is not limited to,

the following property:

(1) the real property, improvements and appurtenances located at Truxillo Street and
Dowling Street, Houston, Texas, (Gandy’s Residence) and is legally described as:

Lot Eleven (11), in Block Five (5) of Washington Terrace, a subdivision in

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Harris County, Texas, according to the map or plat thereof recorded in
Volume 557, Page 68 of the Deed Records of Harris County, Texas;

(2) 2005 C5500 Chevrolet Recreational Vehicle, vehicle identification number:
1GBESUIE15F505062;
(3) one Acer Aspire laptop;

(4) one Motorola DroidX cell phone; and
(5) one Maxtor hard drive.

A True Bill:

Original Signature on File

— we

Oe ae
Grand Jury Foreperson

RYAN K. PATRICK
United States Attommey

By: pice Bees

Sher L. Zack
Assistant United States Attorn
713-567-9374

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AO 243 (Rev. 09/17)
MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT

SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

 

 

 

 

 

United States District Court [District Southern District of Texas
Name (under which you were convicted): Docket or Case No.:
Jason Daniel Gandy 4:12cr503
Place of Confinement: Prisoner No.:
_FCI Marianna 73006-279
UNITED STATES OF AMERICA Movant (include name under which convicted)
V.

Jason Daniel Gandy

 

 

 

MOTION

|, (a) Name and location of court which entered the judgment of conviction you are challenging:

U.S. District Court - SDTX

(b) Criminal docket or case number (if you know); _4:12cr503

2. (a) Date of the judgment of conviction (if you know): 12/23/2018
(b) Date of sentencing: 12/18/2018

3. Length of sentence: 360 Months

4. Nature of crime (all counts):

Count One - transportation of minors; Count Two - sexual exploitation of children; Count Three -
transportation of child pornography; Count Four - Seven - sex trafficking of minors.

 

5. (a) What was your plea? (Check one)
(1) Not guilty (2) Guilty [4 (3) Nolo contendere (no contest) f=]

6, (b) Ifyou entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
what did you plead guilty to and what did you plead not guilty to?

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EXHIBIT

 

6. Ifyou went to trial, what kind of trial did you have? (Check one) TuryLy’ | Judge only! _|

7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes i No| ¥ |

Page 2 of 13
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AO 243 (Rev. 09/17)
8. Did you appeal from the judgment of conviction? Yes No [|

9. Ifyou did appeal, answer the following:
(a) Name of court: U.S. Court of Appeals for the Fifth Circuit
(b) Docket or case number (if you know): 18 -20823
(c) Result: Affirmed
(d) Date of result (if you know): _ 11/4/2019
(e) Citation to the case (if you know): _795 Fed. Appx. 225
(f) Grounds raised:

Sufficiency of the evidence on Counts 1-3 and 6.

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes al No
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Result:

 

 

 

 

 

(3) Date of result (if you know):
(4) Citation to the case (if you know):

(5) Grounds raised:

 

 

10. Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?

Yes || No

11. Ifyour answer to Question 10 was “Yes,” give the following information;
(a) (1) Name of court:

(2) Docket or case number (if you know):
(3) Date of filing (if you know):

 

 

 

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AO 243 (Rev. 09/17)
(4) Nature of the proceeding:
(5) Grounds raised:

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [_ | No [_]
(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket of case number (if you know):
(3) Date of filing Gf you know):

 

 

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [_] No [_]

(7) Result:

(8) Date of result (if you know):

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

 

 

or application?

(1) First petition: Yes [| No [_]

(2) Second petition: Yes [| No [|

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

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AO 243 (Rev. 09/17)

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States, Attach additional pages if you have more than four grounds. State the fac,
supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: Gandy Passed On A Rule 11(c)(1)(C) Plea Agreement That Required A Sentence Of 10 Years Due
lo Ineffective Assistance of Counsel _

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The United States offered Gandy a plea agreement in the Fall of 2014. See attachment A. The plea agreement
would have allowed Gandy to plead guilty to a fixed term of ten years pursuant to FRCP 11(c)(1)(C). Additionally,
the plea agreement required that Gandy be sentenced to a life term of supervised release. Gandy believed the
proposed plea agreement was favorable, but declined to accept the plea agreement because Gandy's lawyers at
the time, Dan Cogdell and Charles Flood, never informed Gandy that--after serving one year of supervised
release--Gandy was eligible to apply for early termination of supervised release. See, 18 USC 3583(e)(1). Gandy
was led to believe by Cogdell and Flood that a life term of supervised release meant that he would have to serve
supervised release for the rest of his life. This was deficient performance.

The requirement that Gandy serve a lifetime period of supervised release was a deal breaker for Gandy, and
critical to Gandy's decisionmaking on whether to accept or reject the plea. Supervised release was “the” most
important factor for Gandy because Gandy wanted to (and still wants) to travel freely to other countries after his
release from prison--and potentially move overseas, permanently. Additionally, Gandy did not want to be subject
to the litany of conditions of supervision, both standard and special, that would operate--in Gandy's eyes--as
significant restraints on his liberty. See continuation page ....

 

(b) Direct Appeal of Ground One:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Claims of ineffective assistance are more appropriately reserved for collateral attack,

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [] No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes (—] No [|

Page 5 of 13
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See Ground One (Continued)

Cogdell and Flood were ineffective for failing to explain to Gandy that.
he was eligible to apply for early termination of supervised release after
completing one year of supervision.

In addition, even if early termination of supervision was not granted,
neither Cogdell nor Flood explained to Gandy that the Court could
allow Gandy to travel overseas--or even move overseas--while on
supervised release because the standard release condition about travel
outside the jurisdiction of supervision, 18 U.S.C. § 3563(b)(14), is not

mandatory.

Moreover, all of the conditions of supervision are subject to
modification. 18 U.S.C. § 3583(e)(2). Neither Cogdell nor Flood told
Gandy about this.

The Supreme Court and the Fifth Circuit have both recognized that the
prejudice inquiry for a guilty plea ineffectiveness claim of this nature
“focuses on the defendant’s decisionmaking.” United States v. Valdez,
973 F.3d 3896, 408 (5th Cir. 2020) (citing Lee v. United States, 1387S. Ct.
1958, 1966-67 (2017)). Proper focus on Gandy’s decisionmaking
demonstrates that there is a reasonable probability Gandy would have
accepted the plea offer—instead of proceeding to trial—had Gandy’s
counsel not been deficient.

Finally, there is no reason to believe the Court would not have accepted
the binding plea agreement.

See, Memorandum of Law and Facts in Support of 28 U.S.C. § 2255
Motion and Supporting Declarations (to be filed forthwith).
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AO 243 (Rev. 09/17)

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [|

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

GROUND TWO:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Two:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

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AO 243 (Rey, 09/17)

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [4 No [|
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes rit No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes a, No ra

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) [f your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

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AO 243 (Rev. 09/17)

GROUND THREE:

 

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

(b) Direct Appeal of Ground Three:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No [|
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [—]

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes fz] No [|

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AO 243 (Rey. 09/17)

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Four:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| No |_|

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

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AO 243 (Rey. 09/17)

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No | |

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [_]

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

 

Name and location of the court where the appeal was filed;

 

Docket or case number (if you know):

 

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

 

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

 

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14.

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17.

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the

you are challenging? Yes [| No

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

 

Give the name and address, if known, of each attorney who represented you in the following stages of the
Judgment you are challenging:
(a) At the preliminary hearing:

See Docket

 

(b) At the arraignment and plea:
See Docket

 

(c) At the trial:
See Docket

 

(d) At sentencing:
See Docket

(e) On appeal:
See Docket

 

() In any post-conviction proceeding:
See Docket

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

 

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court

and at the same time? Yes No [|

Do you have any future sentence to serve after you complete the sentence for the judgment that you are

challenging? Yes [| No

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:

 

(c) Give the length of the other sentence:
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No [_]

 

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AO 243 (Rev. 09/17)

18. TIMELINESS OF MOTION: [f your judgment of conviction became final over one year ago, you must explair
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

This motion is timely as it is filed within one year and 90 days from the Fifth Circuit's judgment affirming the
judgment of the district court.

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

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Therefore, movant asks that the Court erant the following relief:

Vacate Gandy's convictions and order the United States to re-offer the 10-year binding plea agreement.

 

or any other relief to which movant may be entitled.

‘= /s/Benson Weintraub
Signature of Attorney (if any)

 

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on

 

(month, date, year)

Executed (signed) on (date)

 

 

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

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ATTACHMENT A
(PROPOSED PLEA AGREEMENT)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
V. : CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States Attorney,
for the Southern District of Texas and Sherri L. Zack, Assistant United States Attorney, and the
defendant, Jason Gandy, and the defendant's counsel, Dan Cogdell, pursuant to Rule 11(c)(1)(C)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

The Defendant's Agreement
Li. Defendant agrees to plead guilty to Count(s) One of the Indictment. Count One charges
the defendant with Transportation of Minors, in violation of Title 18, United States Code, §
2423(a). Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the law makes essential to the punishment either charged in the Indictment or proven to a jury
or judge beyond a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
§ 2423(a), is a term of imprisonment of not less than 10 years up to Life and a fine of not more than
$250,000.00. Additionally, Defendant shall receive a term of supervised release after
imprisonment of at least 5 years up to Life. Title 18, United States Code, §§ 3559(a) and 3583(b).

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Defendant acknowledges and understands that if he/she should violate the conditions of any period
of supervised release which may be imposed as part of his/her sentence, then Defendant may be
imprisoned for the entire term of supervised release, without credit for time already served on the
term of supervised release prior to such violation. Title 18, United States Code, §§ 3559(a) and
3583(e)(3). Defendant understands that he/she cannot have the imposition or execution of the
sentence suspended, nor is he/she eligible for parole.

3: The defendant understands that under the Sex Offender Registration and
Notification Act, the defendant must register and keep such information current in the jurisdictions
where the defendant resides, is employed, and is a student. The defendant further understands
that the requirement to keep the repitrat on current includes informing such jurisdictions not later
than three (3) business days after any change of the defendant’s name, residence, employment or
student status. The defendant understands that failure to comply with these obligations subjects
the defendant to prosecution for failure to register under federal law, specifically, Title 18, United
States Code, Section 2250, as well as applicable state statutes.

Mandatory Special Assessment

4. Pursuant to Title 18, U.S.C. § 3013(a)(2)(A), immediately after sentencing,
defendant will pay to the Clerk of the United States District Court a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier's check or money order payable to the Clerk of the United States District Court, c/o
District Clerk's Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Fine, Reimbursement and Restitution
5; Defendant understands that under the Sentencing Guidelines, the Court is permitted

to order the defendant to pay a fine that is sufficient to reimburse the government for the costs of

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any imprisonment or term of supervised release, if any is ordered,

6. Defendant understands that under the Sentencing Guidelines and applicable federal
law, in the case of an identifiable victim, the Court may order restitution if authorized by law and
requested by a victim.

7. Defendant agrees that any fine or restitution imposed by the Court will be due and
payable immediately, and defendant will not attempt to avoid or delay payment. Defendant
further agrees not to contest the forfeiture of the items described in the indictment

8. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500) prior to sentencing if he/she is requested to do so, In
the event that the Court imposes a fine or orders the payment of restitution as part of the
Defendant's sentence, the Defendant shall-make complete financial disclosure by truthfully
executing a sworn financial statement immediately following his/her sentencing.

Agreement Binding - Southern District of Texas Only

9. The United States agrees that it will not further criminally prosecute Defendant in
the Southern District of Texas for offenses arising from conduct charged in the Indictment. This
Plea Agreement binds only the United States Attorney's Office for the Southern District of Texas
and Defendant. It does not bind any other United States Attorney. The United States will bring
this Plea Agreement and the full extent of Defendant's cooperation to the attention of other

prosecuting offices if requested.

Waiver of Appeal
10. Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. The defendant agrees to waive the right to appeal the sentence

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imposed or the manner in which it was determined on any grounds set forth in Title 18 U.S.C. §
3742. Additionally, the defendant is aware that Title 28, U.S.C. § 2255, affords the right to |
contest or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant waives the right to contest his/her conviction or sentence by means
of any post-conviction proceeding. In the event the Defendant files a notice of appeal following
the imposition of the sentence, the United States will assert its rights under this agreement and seek
specific performance of this waiver.

11. In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and the statute
of limitations with respect to any prosecution that is not time barred on the date that this
Agreement is signed, in the event that (a) Defendant’s conviction is later vacated for any reason,
(b) Defendant violates any provision of this Agreement, or (c) Defendant's plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has not yet been
determined by the Court. The defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction, not a promise, did not induce his/her guilty
plea, and is not binding on the United States, the Probation Office or the Court. The United States
does not make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the

Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

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13.

The Defendant understands and agrees that each and all waivers contained in the

Agreement are made in exchange for the concessions made by the United States in this plea

agreement.

14.

(a)

(b)

15.

The United States’ Agreements
The United States agrees to each of the following:

At the time of sentencing, the United States agrees not to oppose defendant's
anticipated request to the Court and the United States Probation Office that he/she
receive a two (2) level downward adjustment pursuant to U,S.S.G. Section
3E1.1(a) should the defendant accept responsibility as contemplated by the
Sentencing Guidelines.

If the defendant qualifies for an adjustment under U.S.S.G. Section 3E1.1(a), the
United States agrees not to oppose the defendant’s request for an additional one
level departure based on the timeliness of the plea or the expeditious manner in
which the defendant provided complete information regarding his role in the
offense if the defendant's offense level is 16 or greater.

The United States agrees at the time of sentencing to request a sentence of 10 years
on Count One. The term of imprisonment is to be followed by a term of Life on
supervised release. The United States agrees that the amount of any fine imposed
rests with the Court. The United States agrees that this recommendation will bind
the Court, if this agreement is accepted, pursuant to Rule 11(c)(1)(C).

United States’ Non-Waiver of Appeal

The United States reserves the right to carry out its responsibilities under the

sentencing guidelines. Specifically, the United States reserves the right:

(a)

(b)
(c)

(d)

to bring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with that
office's preparation of a presentence report;

to set forth or dispute sentencing factors or facts material to sentencing;

to seek resolution of such factors or facts in conference with defendant’s counsel
and the Probation Office; and,

to file a pleading relating to these issues, in accordance with U.S.S.G. Section

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6A1.2 and Title 18, U.S.C.§ 3553 (a).

Sentence Determination

16. Defendant is aware that the sentence will be imposed after consideration of the
United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as
the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has authority to impose any sentence up to and including the statutory maximum set
for the offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is within
the sole discretion of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines. Defendant understands and agrees the parties’ positions regarding the application of
the Sentencing Guidelines do not bind the Court until the Court accepts the plea agreement. Ifthe
Court accepts the plea agreement, Defendant will remain bound to fulfill all of the obligations
under this plea agreement. If the Court rejects the plea agreement, Defendant will be given an
opportunity to withdraw his plea of guilty.

Rights at Trial

17. Defendant represents to the Court that he is satisfied that his/her attorney has
rendered effective assistance. Defendant understands that by entering into this agreement, he/she
surrenders certain rights as provided in this plea agreement. Defendant understands that the
rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant would have
the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the defendant, the United States, and
the court all agree.

(b) At a trial, the United States would be required to present witnesses and other

evidence against the defendant. Defendant would have the opportunity to confront
those witnesses and his/her attorney would be allowed to cross-examine them. In

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turn, the defendant could, but would not be required to, present witnesses and other
evidence on his/her own behalf. _ If the witnesses for defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court.

(c) Ata trial, defendant could rely on a privilege against self-incrimination and decline
to testify, and no inference of guilt could be drawn from such refusal to testify.
However, if the defendant desired to do so, he/she could testify on his/her own
behalf.

Factual Basis for Guilty Plea
18. Defendant is pleading guilty because he is guilty of the charges contained in Count
One of the Indictment. If this case were to proceed to trial, the United States could prove each
element of the offenses charged in each count beyond a reasonable doubt. The parties agree that
this factual basis does not include all relevant conduct that may be considered by the Court for
sentencing purposes. The following facts, among others-would be offered to establish the

Defendant's guilt:

On July 19, 2012, Jason Gandy (GANDY) arrived in the United Kingdom (UK) at
Heathrow International Airport aboard United Airlines Flight 4 which he boarded in Houston,
Texas. GANDY was traveling with a 15 year-old male KV (D.O.B. xx/xx/1997) KV is not
related to GANDY.

Upon landing in the UK, GANDY was inspected by UK Immigration (UKI) Officers of
the UK Border Agency and selected for secondary inspection. UKI authorities became
suspicious when GANDY was asked why he wanted to enter the UK and why he was traveling
with a minor child. UK] authorities were also concerned as GANDY admitted that he was not
related to KV and contacted KV’s mother. KV’s mother informed the UKI officers that she had
given KV permission to travel with GANDY, but also gave a conflicting reason as to the purpose
of the trip. Based upon interviews with GANDY, KV and KV’s mother, UKI officials denied
GANDY and KV entry and made arrangements for them to immediately return to the United

States.
On or about, July 20, 2012, at approximately 1:35 pm (CDT), GANDY arrived at George
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Bush Intercontinental Airport in Houston, Texas, on United Airlines Flight 35, Bush
Intercontinental Airport is in Houston, Harris County, Texas and within the Southern District of
Texas. Upon disembarking the plane, GANDY was escorted by U.S. Customs and Border
Protection (CBP) officers to the secondary inspection area. During secondary inspection,
GANDY made a binding declaration to the CBP officers that the luggage and other items he was
carrying were his.

HSI SA Juanae Johnson along with Houston Police Department Detective Joseph Roscoe,
met with GANDY upon his arrival and questioned him as to the purpose of his trip to the United
Kingdom and his travel with KV. GANDY was advised of his Miranda rights and informed
that he was not under arrest. Gandy waived his rights and spoke willingly and voluntarily with
law enforcement about his travels to the UK with KV. The interview took place in the baggage
search area in the CBP secondary inspection area.

GANDY stated that he and KV had met through a mutual "friend" on the social
networking website “Facebook”, GANDY, who is 35 years-old, knew KV was only 15 years of
age, however he did not disclose his age to the child.

Upon meeting KV, GANDY took him to the mall to celebrate his 15" birthday. GANDY
also admitted taking KV to a concert, and informed agents that he and KV began to develop a
friendship. GANDY admitted to lavishing KV with gifts in person and via the mail. GANDY
stated that he liked buying KY nice things, because K V's family was unable to.

GANDY informed the agents that he is a licensed massage therapist and he buys and sells
real estate for a living. GANDY told agents that he owned and operated a massage business
known as, JasonRMT.com. The website indicates that GANDY performs massages for a fee
which must be paid in cash. Additionally, the massages can be “incalls” or “outcalls” which
mean that either the customer comes to GANDY or he goes to the customer. The terms
“incalls” and “outcalls” are terms frequently associated with prostitution and advertisements for
prostitution activities. GANDY informed the agents that KV spends the night at least once a
week at his home.

KV was also interviewed and based on information provided by GANDY and the KV,
agents were able to establish KV was with GANDY almost every weekend. GANDY also told
agents that when they are together, he gives massages to KV. KV corroborated GANDY’s

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statement and informed agents that GANDY, on at least on one occasion, had masturbated him,
KV, during the massage session. GANDY told the agents that after every massage, GANDY
masturbates in K'V’s presence, and on several occasions GANDY and KV have masturbated in
the presence of one another.

GANDY also told-agents that on at least one occasion he has taken a nude picture of
KYV's backside without his permission while they were at GANDY'S home. GANDY also
stated that he downloaded the picture on his laptop. KV confirmed that GANDY has taken
other photos of his nude backside at the home but he does not know where those photos are.
When asked to elaborate, KV indicated that he was joking with GANDY one day when they
were together about the photos. KV took offhis pants and then allowed GANDY to take nude
photos of him.

Personnel trained in child psychology from the Harris County Children’s Assessment
Center along with officers also interviewed KV. KV confirmed that GANDY runs a massage
business which he operates in his home and in the Recreational Vehicle (RV) located on the
property. KV was recruited by GANDY in May of 2012 to assist with GANDY’s massage
business and KV has done so up until the present. At GANDY’s direction, KV massages men
while they are completely nude. The men are also allowed to fondle KV’s genitals during the
massage sessions. KV was uncomfortable conducting massages in the nude and allowing the
men to touch him in the beginning. GANDY told KY that in order for them to continue to hang
out and make money together he had to allow the clients to touch him. During these massages
KYV would also masturbate the men, KV estimated that he has been paid between $400.00 and
$500.00 dollars since working for GANDY.

K-V indicated that he has been instructed to massage certain clients alone on at least one
occasion. KV stated that he would “stay” in the RV while at GANDY’s residence, and men
would enter the RV and tell KV “I am here for you.” KV would massage these men alone while
in the nude and masturbate them. KV knew that GANDY was paid between $80.00 and $120.00
for the massage sessions. IfGANDY alone provided what was referred to as a “single”
massage, the fee was $80.00. Ifboth KV and GANDY provided what was referred to as a “four
hand” massage together, the fee was $120.00. Upon completion of each massage, the clients

paid GANDY, and then GANDY would pay KV between $20.00 and $40.00. KV went on to say

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that GANDY has a large clientele and GANDY is busy most of the time.

GANDY stated that he and KV recently began discussing taking a trip to England.
GANDY purchased both plane tickets (approximately $2150.00) and gave KV money to
purchase an expedited passport (approximately $200.00). GANDY received a signed and
notarized affidavit form from KV’s mother that authorized K-V to travel with GANDY and
remain in the UK in GANDYS' custody from July 18, 2012 until August, 22, 2012. GANDY had
not reserved any accommodations in the UK and was intending on finding a place to stay once
they landed in the UK.

During the secondary search of GANDY '’s personal belongings, CBP officers discovered
approximately 90 condoms. When agents questioned GANDY about the condoms he told agents
that he utilized the condoms for massaging his clients prostates, and he had some “hope” of
possibly using a couple of condoms with KV once in London.

KV also told interviewers that GANDY intended to start a massage business while in
London that was similar to the one he ran in the Houston area. KV stated that GANDY told
him that he was unaware of the laws in the UK governing the types of massages he would be
legally permitted to provide. KV also stated that on July 18", 2012, while they were waiting to
board their flight to the UK, GANDY informed KV that he had two clients waiting for them in
the UK. They were set to meet him between July 22" and July 24" 2012.

KV stated that GANDY promised KV that once in London he would possibly be able to
attend the Olympics, and that he would be taken to his favorite clothing store and be able to see
his favorite bands. KV was under the impression that he would be required to perform some
massages while he was in the UK but he was most excited about the shopping, the Olympics and
seeing his favorite bands.

Breach of Plea Agreement
19.  Ifdefendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and the defendant’s plea and sentence will stand. If at any time defendant retains,

conceals or disposes of assets in violation of this plea agreement, or if defendant knowingly

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withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

20. Whether the defendant has breached any provision of this plea sereeenibeh shall be
determined solely by the United States through the United States Attorney’s Office, whose
judgment in that regard is final.

Forfeiture

21. Defendant agrees to waive any and all interest in any asset which is the subject of
any related administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal, with the exception of the real property located at Truxillo Street and Dowling Street,
Houston, Texas, Defendant admits and agrees that the following assets, which are the subject of
the related civil forfeiture action styled United States of America v. 2005 C5500 Chevrolet

Recreational Vehicle, et al., and pending before the Houston Division of the United States District

 

Court for the Southern District of Texas under Case No. 4:12-cv-3668, were used or intended to be
used to commit or to facilitate the commission of transportation of a minor with intent to engage in
criminal sexual activity which form the basis of this criminal action:
A. The real property located at Truxillo Street and Dowling Street, Houston, Texas,
aud legally described as:
Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in
Harris County, Texas, according to the-map or plat thereof recorded in

Volume 557, Page 68 of the Deed Records of Harris County, Texas;

B. A 2005 C5500 Chevrolet Recreational Vehicle, VIN # 1GBE5U1E15F505062; and

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C.

22.

A 2012 Toyota Scion IQ, VIN # JTINJJXB06CI010887.

Defendant agrees that he will sign an agreed judgment in the related civil forfeiture

action (Case No. 4:12-cy-3668) that will forfeit all right, title, and interest in the assets which are

the subject of that action, except for the real property located at Truxillo Street and Dowling Street,

Houston, Texas, to the United States. The terms of the agreed judgment will be as follows;

A.

2s

Defendant agrees to pay the United States a sum of money, equal to the fair market
value as determined by the United States, of the real property located at Truxillo
Street and Dowling Street, Houston, Texas, in lieu of forfeiture of that property.
Defendant agrees to pay the United States in the form of a cashier’s check made
payable to the United States, or its designee, at or before the time of re-arraignment.
Defendant understands and agrees that he is and will remain liable for any unpaid
ad valorem taxes on the real property referenced above.

Defendant agrees to allow/provide the United States, or its designee, access to the
real property for purposes of appraising the property.

Defendant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational
Vehicle, VIN # 1GBESUILEL5F505062.

Defendant agrees to the forfeiture of the 2012 Toyota Scion IQ, VIN #
JTNJJXB06CJO10887.

Defendant waives the right to challenge the agreed judgment in the civil forfeiture

action referenced above in any manner (including by direct appeal, habeas corpus, or any other

means) and on any grounds, including that the forfeiture constitutes an excessive fine or

punishment. The defendant agrees to take all steps requested by the United States to pass clear

title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture

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proceeding.
Complete Agreement

24. ‘This written plea agreement, consisting of 15 pages, including the attached
addendum of defendant and his/her attorney, constitutes the complete plea agreement between the
United States, defendant and his/her counsel. No promises or representations have been made by
the United States except as set forth in writing in this plea agreement. Defendant acknowledges
that no threats have been made against him/her and that he/she is pleading guilty freely and
voluntarily because he/she is guilty.

25. Any modification of this plea agreement must be in writing and signed by all

 

 

 

 

 

 

patties,
Filed at Houston, Texas, on , 2014.
Jason Gandy
Defendant
Subscribed and sworn to before me on , 2014.
UNITED STATES DISTRICT CLERK
By:
Deputy United States District Clerk
APPROVED:
KENNETH MAGIDSON
United States Attorney
By:
Sherri L. Zack Dan Cogdell
Assistant United States Attorney Attorney for Defendant

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

~ HOUSTON DIVISION
JASON GANDY, )
V. - Case No. 4:12-cr-00508
UNITED STATES OF AMERICA.

MEMORANDUM OF LAW AND FACTS
IN SUPPORT OF MOTION TO VACATE, SET ASIDE, OR
CORRECT SENTENCE UNDER 28 U.S.C.§ 2255

Jason Gandy ("Gandy"), through the undersigned counsel,
respectfully submits this memorandum of law in support of his
amended 28 U.S.C. § 2255 motion.

INTRODUCTION

Cogdell and Charles Flood were ineffective for failing to explain to
Gandy that he was eligible to apply for early termination of supervised
release after completing one year of supervision. Cogdell and Flood also
never informed Gandy that his conditions of supervised release could be
modified. Had Gandy known that he could apply for early termination
or modification of his supervised release, he would have accepted the

Government's Fed.R.Crim.P. 11(c)(1)(C) plea offer of ten years and

plead guilty.

 

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STATEMENT OF FACTS

On August 15, 2012, Gandy was charged in a one count Siniina
indictment. (ECF 11). Count One charged that Gandy knowingly
transported a minor in interstate commerce to adedes in prostitution in
violation of 18 U.S.C. § 2423(a). (ECF 11 at 1). On dittenbeie 28, 2012,
Gandy retained Attorney Cogdell. (ECF 25). On April 5, 2018, Gandy
retained Attorney Flood. (ECF 39).

By December 5, 20138, Attorneys Cogdell and Flood were actively
discussing a potential resolution of the case with the government. (HCF
47 at 1). Shortly thereafter, Cogdell and Flood presented Gandy with a
proposed Fed. R. Crim. P. 11(c)(1)(C) written plea agreement. Exhibit 1
(Proposed Plea Agreement, page 1).

The plea agreement stated that, if Gandy should violate the
conditions of any period of supervised release, he "may be imprisoned
for the entire term of supervised release." Exhibit 1 (Plea Agreement 4]
2). Moreover, Gandy "understands that he cannot have the imposition
or execution of the sentence suspended, nor is he eligible for parole." Id.

Attorneys Cogdell and Flood informed Gandy that, if the Court

accepted the plea agreement, he would receive "10 years on Count One."

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Exhibit 1 (Plea Agreement § 14(c)). The ten-year sentence would be
"followed by a term of Life on supervised release." Id. Cogdell and Flood
informed Gandy that there was no parole and he would serve his entire
term of supervised release. Hxhibit 2 (Declaration of Jason Gandy).!

Gandy informed Attorneys Cogdell and Flood that lifetime
supervised release was a deal breaker. Exhibit 2. Gandy informed
Cogdell and Flood that he eventually wanted to travel to other countries
and potentially move overseas permanently. Jd. Cogdell and Flood
never informed Gandy that a term of supervised release could be
reduced and/or its conditions modified. Id.

Attorneys Cogdell and Flood communicated with Gandy's
stepmother and father, Julie and Joe Gandy. Exhibit 2. Mrs. Gandy
states in her declaration that:

3. Prior to trial, Attorneys Cogdell and Flood

communicated with Gandy's father and I about a plea
deal offered by the government.
4. When Jason wets offered the plea deal, his dad and I strongly

encouraged him to take it.

 

L An executed copy of Gandy’s declaration will be filed with the Court forthwith,

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5. We knew that Jason was seriously considering it but had
several issues with the plea offer as it was written.

6.  Lknow that. Jason discussed these issues with Flood and
Cogdell.

7.  lLalso asked Flood and Cogdell about the supervised release
several times.

8. The following are Jason’s concerns about the proposed plea
that I remember discussing with Flood and Cogdell:

a. Jason could be on supervised release up to life. We
asked if they could get that time reduced and Cogdell
told us that the judge would make that determination
on the day of sentencing.

b. Jason wanted to be able to leave the country to travel
and eventually live in another country, i.e. Indonesia,
which he fell in love with on his travels. From the
limited information provided by Flood and Cogdell
about the plea deal, Jason, his father and I understood
that he would not be able to leave the US while on

supervised release.

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c. Jason did not want to be labeled a “Child Molester.”
He said he'd have to live in fear for his life and
wouldn’t be safe anywhere in the U.S. That was
another reason that he wanted to leave the US. and
live overseas, where he would not have to live under
that label.
Exhibit 3 (Declaration of Julie Gandy).
Mr. Gandy states in his declaration that:
3. Prior to trial, Attorneys Cogdell and Flood communicated
with my wife, Julie, and I about a plea deal.
4. |My memories of the plea deal are as follows:
a. Jason was seriously thinking of taking the plea deal
and took a long time to decide.
b. He had some major problems with it that ended up
causing him to turn it down.
c. Chief among those concerns was Jason knew he
would be labeled a child molester which would make
him a target for crazies here in the U.S., so he

wanted to leave the U.S and live in another country.

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d. Jason loved Bali so he said that he wanted to
go there and live in peace.

e. Attorneys Cogdell and Flood advised my wife and I
that Jason could not leave the country while on
supervised release.

Exhibit 4 (Declaration of Joe Gandy).

Gandy ultimately rejected the plea offer and, on September 17,
2014, he was charged in a three-count superseding indictment. (ECF
60). Again, Count One charged that Gandy knowingly transported a
minor in interstate commerce to engage in prostitution in violation of §
2423(a). (ECF 60 at 3). Count Two charged that Gandy enticed a minor
to engage in sexually explicit conduct in violation of 18 U.S.C. § 2251(a)
& (). (ECF 60 at 3-4). Count Three charged that Gandy transported
pornography in interstate commerce in violation of 18 U.S.C. §
2252A(a)(1) and (b). (ECF 60 at 4). The plea negotiations broke down.

On March 30, 2015, Gandy retained Attorney Nicole BeBorde.
(ECF 67). On April 1, 2015, the district court granted Attorney Flood's

motion to withdraw. (KCF 69). On April 8, 2017, Gandy retained

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Attorney Dustan Neyland. (ECF 95). On April 28, 2017, Attorneys
Cogdell and DeBorde withdrew. (ECF 98).

On February 15, 2018, Gandy was charged in a second
superseding seven count ‘ndinnidat (ECF 115). Counts One through
Three remained the same. (ECF 115 at 2-4). Counts Four, Five, Six, and
Seven charged that Gandy enticed Minors # 1, #2, #3, and # 4 to
engage in commercial sex acts in violation of 18 U.S.C. § 1591(a), (b),
and 2. (ECF 115 at 4-6).

On June 7, 2018, Gandy retained Attorney Sean Buckley. (ECF
130). From July 18, 19, and 23, 2018, Gandy proceeded to trial. (ECF
154, 156, & 160). On July 23, 2018, Gandy was found guilty on all
counts. (ECF 167). On December 18, 2018, Gandy was sentenced to a
total term of 360 months imprisonment and lifetime supervised release.
(ECF 200). On December 19, 2018, Gandy filed a timely notice of
appeal. (ECF 202). |

On November 4, 2019, the Fifth Circuit affirmed Gandy's
conviction and sentence. (ECF 229). On February 2, 2021, Grandy filed
a timely 28 U.S.C. § 2255 motion that Attorneys Cogdell and Flood were

ineffective. (ECF 238). Had Gandy known that the district court could

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terminate a term of supervised release after the expiration of one year

or modify the conditions of supervised release so that he could travel

outside the United States, he would have accepted the Fed. R. Crim. P.

11(c)(1)(C) written plea agreement and pleaded guilty. Exhibit 2.

GROUND ONE

I. Attorneys Dan Cogdell and Attorney Samuel Flood were
ineffective for failing to explain to Gandy that he was
eligible to apply for early termination of supervised
release after completing one year of supervision.

The negotiation of a plea bargain is a critical phase of litigation for
the purposes of the Sixth Amendment right to effective assistance of
counsel. Padilla v. Kentucky, 559 U.S. 356 (2010). When considering
whether to plead guilty or proceed to trial, a defendant should be aware
of the relevant circumstances and the likely consequences of his
decision so that he can make an intelligent choice. United States v.
Reed, 719 F.3d 369, 373 (5th Cir. 2018).

To establish an ineffective assistance claim, a defendant must
show that counsel's performance fell below an objective standard of
reasonableness and that there is a reasonable probability that but for
counsel's poor performance the result of the proceeding would have been

different. United States v. Rivas-Lopez, 678 F.3d 358, 356-57 (5th Cir.

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2012). Concerning prejudice, when a defendant alleges that counsel's
deficient performance caused him to reject a plea offer, he

must show that but for the ineffective advice of counsel

here is a reasonable probability that the plea offer would

have been presented to the court (i.e., that the defendant

would have accepted the plea and the prosecution would

not had withdrawn it in light of intervening

circumstances), that the court would have accepted its

terms, and the conviction or sentence, or both, under the

offer's terms would have been less severe than under the

judgment and sentence that in fact were imposed.
Lafler v. Cooper, 566 U.S. 156, 164 (2012),

A. Deficient Performance

Gandy's allegations are not speculative or conclusory. In his
Declaration, he makes a specific factual claim based on personal
knowledge -- that Attorneys Cogdell and Flood informed him that if
accepted the government's plea deal, he would serve his entire term of
supervised release. Cogdell and Flood never informed him that the
district court could terminate his term of supervised release after the
expiration of one year or modify the conditions of supervised release so

that he could travel outside the United States. Gandy's parents have

filed declarations supporting his version of events.

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The information that Attorney Cogdell and Flood provided to
Gandy was in fact incorrect. Cogdell and Flood informed Gandy that
there was no parole and he would serve his entire term of supervised
release. Moreover, Gandy would not be allowed to losses outside the

United States. A district court may

(1) terminate a term of supervised release and discharge the
defendant released at any time after the expiration of one year
of supervised release, pursuant to the provisions of the Federal
Rules of Criminal Procedure relating to the modification of
probation., if it is satisfied that such action is warranted by the
conduct of the defendant released and the interest of justice.

(2) extend a term of supervised release if less than the
maximum authorized term was previously imposed, and may
modify, reduce, or enlarge the conditions of supervised release,
at any time prior to the expiration or termination of the term of
supervised release, pursuant to the provisions of the Federal
Rules of Criminal Procedure relating to the modification of

probation.
18 U.S.C. § 3583(8)(1)-(2).

B. Prejudice

To establish prejudice, a movant must show that there is a
reasonable probability that, but for counsel’s unprofessional errors, the
result of the proceeding would have been different. A reasonable
probability is a probability sufficient to undermine confidence in the

outcome. Wiggins v. Smith, 539 U.S. 510, 584 (2008).

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Prejudice in this case focuses on Gandy’s decision to accept the
plea agreement or go to trial. Lee v. United States, 137 S.Ct. 1958, 196-
67 (2017). Gandy has submitted a declaration that: had he known that
the district court could terminate a term of supervised release after the
expiration of one year or modify the conditions of supervised release so
that he could travel outside the United States, he would have accepted
the Fed. R. Crim. P. LU(CAVC) written plea agreement and plead
guilty. Exhibit 2.

EVIDENTIARY HEARING

Gandy requests an evidentiary hearing. A district court may forgo
an evidentiary hearing in deciding a § 2255 motion “only if the motion,
“the files, and records of the case conclusively show that the pilsaner is
entitled to no relief.” United States v. Bartholmew, 974 F.2d 39, 41 (5t
Cir. 1992). When facts are at issue in a § 2255 proceeding, a hearing is
required if (1) the record, as supplemented by the trial court’s personal
knowledge or recollection, does not conclusively negate the facts alleged
in support of the claim for § 2255 relief, and (2) the movant would be

entitled to postconviction relief as a legal matter if his factual

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allegations are true. Kriedman v. United States, 588 F.2d 1010, 1014-15
(5th Cir. 1979).
CONCLUSION
Based on the foregoing, the Court should grant Gandy § 2255
relief.

Respectfully submitted,

/s/Benson Weintraub

Benson Weintraub

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Counsel for Jason Gandy

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CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing was served

this 2nd of April 2021.

/s/Benson Weintraub

 

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EXHIBIT 1

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
V. ; CRIMINAL NO. 12-503
JASON GANDY :
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States Attorney,
for the Southern District of Texas and Sherri L. Zack, Assistant United States Attorney, and the
defendant, Jason Gandy, and the defendant’s counsel, Dan Cogdell, pursuant to Rule 11(c)(1)(C)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

The Defendant's Agreement
1. Defendant agrees to plead guilty to Count(s) One of the Indictment. Count One charges
the defendant with Transportation of Minors, in violation of Title 18, United States Code, §
2423(a). Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the law makes essential to the punishment either charged in the Indictment or proven to a jury
or judge beyond a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
§ 2423(a), is a term of imprisonment of not less than 10 years up to Life and a fine of not more than
$250,000.00. Additionally, Defendant shall receive a term of supervised release after

imprisonment of at least 5 years up to Life. Title 18, United States Code, §§ 3559(a) and 3583(b).

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Defendant acknowledges and understands that if he/she should violate the conditions of any period
of supervised release which may be imposed as part of his/her sentence, then Defendant may be
imprisoned for the entire term of supervised release, without credit for time already served on the
term of supervised release prior to such violation. Title 18, United States Code, §§ 3559(a) and
3583(e)(3). Defendant understands that he/she cannot have the imposition or execution of the
sentence suspended, nor is he/she eligible for parole.

3. The defendant understands that under the Sex Offender Registration and
Notification Act, the defendant must register and keep such information current in the jurisdictions
where the defendant resides, is employed, and is a student. The defendant further understands
that the requirement to keep the registration current includes informing such jurisdictions not later
than three (3) business days after any change of the defendant’s name, residence, employment or
student status. The defendant understands that failure to comply with these obligations subjects
the defendant to prosecution for failure to register under federal law, specifically, Title 18, United
States Code, Section 2250, as well as applicable state statutes.

Mandatory Special Assessment

4, Pursuant to Title 18, U.S.C. § 3013(a)(2)(A), immediately after sentencing,
defendant will pay to the Clerk of the United States District Court a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Fine, Reimbursement and Restitution

3; Defendant understands that under the Sentencing Guidelines, the Court is permitted

to order the defendant to pay a fine that is sufficient to reimburse the government for the costs of

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any imprisonment or term of supervised release, if any is ordered.

6. Defendant understands that under the Sentencing Guidelines and applicable federal
law, in the case of an identifiable victim, the Court may order restitution if authorized by law and
requested by a victim.

d Defendant agrees that any fine or restitution imposed by the Court will be due and
payable immediately, and defendant will not attempt to avoid or delay payment. Defendant
further agrees not to contest the forfeiture of the items described in the indictment

8. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500) prior to sentencing ifhe/she is requested todo so. In
the event that the Court imposes a fine or orders the payment of restitution as part of the
Defendant's sentence, the Defendant shall make complete financial disclosure by truthfully
executing a sworn financial statement immediately following his/her sentencing.

Agreement Binding - Southern District of Texas Only

9, The United States agrees that it will not further criminally prosecute Defendant in
the Southern District of Texas for offenses arising from conduct charged in the Indictment. This
Plea Agreement binds only the United States Attorney's Office for the Southern District of Texas
and Defendant. It does not bind any other United States Attorney. The United States will bring
this Plea Agreement and the full extent of Defendant's cooperation to the attention of other

prosecuting offices if requested,

Waiver of Appeal
10. Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. The defendant agrees to waive the right to appeal the sentence

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imposed or the manner in which it was determined on any grounds set forth in Title 18 U.S.C. §
3742. Additionally, the defendant is aware that Title 28, U.S.C. § 2255, affords the right to
contest or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant waives the right to contest his/her conviction or sentence by means
of any post-conviction proceeding. In the event the Defendant files a notice of appeal following
the imposition of the sentence, the United States will assert its rights under this agreement and seek
specific performance of this waiver.

11. In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and the statute
of limitations with respect to any prosecution that is not time barred on the date that this
Agreement is signed, in the event that (a) Defendant's conviction is later vacated for any reason,
(b) Defendant violates any provision of this Agreement, or (c) Defendant's plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has not yet been
determined by the Court. The defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction, not a promise, did not induce his/her guilty
plea, and is not binding on the United States, the Probation Office or the Court. The United States
does not make any promise or representation concerning what sentence the defendant will receive,
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the

Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

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13.

The Defendant understands and agrees that each and all waivers contained in the

Agreement are made in exchange for the concessions made by the United States in this plea

agreement.

14,

(b)

(c)

15.

The United States’ Agreements
The United States agrees to each of the following:

At the time of sentencing, the United States agrees not to oppose defendant's
anticipated request to the Court and the United States Probation Office that he/she
receive a two (2) level downward adjustment pursuant to U.S.S.G. Section
3E1.1(a) should the defendant accept responsibility as contemplated by the
Sentencing Guidelines.

If the defendant qualifies for an adjustment under U.S.S.G, Section 3E1,1(a), the
United States agrees not to oppose the defendant’s request for an additional one
level departure based on the timeliness of the plea or the expeditious manner in
which the defendant provided complete information regarding his role in the
offense if the defendant's offense level is 16 or greater.

The United States agrees at the time of sentencing to request a sentence of 10 years
on Count One. The term of imprisonment is to be followed by a term of Life on
supervised release. The United States agrees that the amount of any fine imposed
rests with the Court. The United States agrees that this recommendation will bind
the Court, if this agreement is accepted, pursuant to Rule 11(c)(1)(C).

United States’ Non-Waiver of Appeal

The United States reserves the right to carry out its responsibilities under the

sentencing guidelines. Specifically, the United States reserves the right:

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(b)
_ (c)

(d)

to bring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with that
office’s preparation of a presentence report;

to set forth or dispute sentencing factors or facts material to sentencing;

to seek resolution of such factors or facts in conference with defendant's counsel
and the Probation Office; and,

to file a pleading relating to these issues, in accordance with U.S.S.G. Section

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6A1.2 and Title 18, U.S.C.§ 3553(a).

Sentence Determination

16. Defendant is aware that the sentence will be imposed after consideration of the
United Stats Sentencing Guidelines and Policy Statements, which are only advisory, as well as
the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless acknowledges and agrees
that the Court has authority to impose any sentence up to and including the statutory maximum set
for the offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is within
the sole discretion of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines. Defendant understands and agrees the parties’ positions regarding the application of
the Sentencing Guidelines do not bind the Court until the Court accepts the plea agreement. Ifthe
Court accepts the plea agreement, Defendant will remain bound to fulfill all of the obligations
under this plea agreement. If the Court rejects the plea agreement, Defendant will be given an
opportunity to withdraw his plea of guilty.

Rights at Trial

17. Defendant represents to the Court that he is satisfied that his/her attorney has
rendered effective assistance. Defendant understands that by entering into this agreement, he/she
surrenders certain rights as provided in this plea agreement. Defendant understands that the
rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant would have
the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the defendant, the United States, and
the court all agree.

(b) At a trial, the United States would be required to present witnesses and other
evidence against the defendant. Defendant would have the opportunity to confront

those witnesses and his/her attorney would be allowed to cross-examine them. In

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turn, the defendant could, but would not be required to, present witnesses and other
evidence on his/her own behalf. Ifthe witnesses for defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court.

(c)  Atatrial, defendant could rely on a privilege against self-incrimination and decline
to testify, and no inference of guilt could be drawn from such refusal to testify.
However, if the defendant desired to do so, he/she could testify on his/her own
behalf.

Factual Basis for Guilty Plea |
18. Defendant is pleading guilty because he is guilty of the charges contained in Count
One of the Indictment. If this case were to proceed to trial, the United States could prove each
element of the offenses charged in each count beyond a reasonable doubt. The parties agree that
this factual basis does not include all relevant conduct that may be considered by the Court for
sentencing purposes. The following facts, among others would be offered to establish the
Defendant's guilt:

On July 19, 2012, Jason Gandy (GANDY) arrived in the United Kingdom (UK) at
Heathrow International Airport aboard United Airlines Flight 4 which he boarded in Houston,
Texas. GANDY was traveling with a 15 year-old male KV (D.O.B. xx/xx/1997) KV is not
related to GANDY.

Upon landing in the UK, GANDY was inspected by UK Immigration (UK]) Officers of
the UK Border Agency and selected for secondary inspection. UK] authorities became
suspicious when GANDY was asked why he wanted to enter the UK and why he was traveling
with a minor child, UKI authorities were also concerned as GANDY admitted that he was not
related to KV and contacted KV’s mother. KV’s mother informed the UKI officers that she had
given KV permission to travel with GANDY, but also gave a conflicting reason as to the purpose
of the trip. Based upon interviews with GANDY, KV and KY’s mother, UKI officials denied
GANDY and KV entry and made arrangements for them to immediately return to the United
States.

On or about, July 20, 2012, at approximately 1:35 pm (CDT), GANDY arrived at George

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Bush Intercontinental Airport in Houston, Texas, on United Airlines Flight 35. Bush
Intercontinental Airport is in Houston, Harris County, Texas and within the Southern District of
Texas. Upon disembarking the plane, GANDY was escorted by U.S. Customs and Border
Protection (CBP) officers to the secondary inspection area. During secondary inspection,
GANDY made a binding declaration to the CBP officers that the luggage and other items he was
carrying were his.

HSI SA Juanae Johnson along with Houston Police Department Detective Joseph Roscoe,
met with GANDY upon his arrival and questioned him as to the purpose of his trip to the United
Kingdom and his travel with KV. GANDY was advised of his Miranda rights and informed
that he was not under arrest. Gandy waived his rights and spoke willingly and voluntarily with
law enforcement about his travels to the UK with KV. The interview took place in the baggage
search area in the CBP secondary inspection area,

GANDY stated that he and KV had met through a mutual "friend" on the social
networking website “Facebook”. GANDY, who is 35 years-old, knew KV was only 15 years of
age, however he did not disclose his age to the child.

Upon meeting KV, GANDY took him to the mall to celebrate his 15" birthday. GANDY
also admitted taking KV to a concert, and informed agents that he and KV began to develop a
friendship. GANDY admitted to lavishing KV with gifts in person and via the mail. GANDY
stated that he liked buying KV nice things, because K V's family was unable to.

GANDY informed the agents that he is a licensed massage therapist and he buys and sells
real estate for a living. GANDY told agents that he owned and operated a massage business
known as, JasonRMT.com. The website indicates that GANDY performs massages for a fee
which must be paid in cash. Additionally, the massages can be “incalls” or “outcalls” which
mean that either the customer comes to GANDY or he goes to the customer. The terms
“incalls” and “outcalls” are terms frequently associated with prostitution and advertisements for
prostitution activities. GANDY informed the agents that KV spends the night at least once a
week at his home. |

KV was also interviewed and based on information provided by GANDY and the KV,
agents were able to establish KV was with GANDY almost every weekend. GANDY also told
agents that when they are together, he gives massages to KV. KV corroborated GANDY’s
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statement and informed agents that GANDY, on at least on one occasion, had masturbated him,
KV, during the massage session. GANDY told the agents that after every massage, GANDY
masturbates in KV’s presence, and on several occasions GANDY and KV have masturbated in
the presence of one another. ,

GANDY also told acents that on at least one occasion he has taken a nude picture of
KYV's backside without his permission while they were at GANDY’S home. GANDY also
stated that he downloaded the picture on his laptop. KV confirmed that GANDY has taken
other photos of his nude backside at the home but he does not know where those photos are.
When asked to elaborate, KV indicated that he was joking with GANDY one day when they
were together about the photos. KV took off his pants and then allowed GANDY to take nude
photos of him.

Personne! trained in child psychology from the Harris County Children’s Assessment
Center along with officers also interviewed KV. KV confirmed that GANDY runs a massage
business which he operates in his home and in the Recreational Vehicle (RV) located on the
property. KV was recruited by GANDY in May of 2012 to assist with GANDY’s massage
business and KV has done so up until the present. At GANDY’s direction, KV massages men
while they are completely nude, The men are also allowed to fondle K-V’s genitals during the
massage sessions. KV was uncomfortable conducting massages in the nude and allowing the
men to touch him in the beginning. GANDY told KV that in order for them to continue to hang
out and make money together he had to allow the clients to touch him. During these massages
KV would also masturbate the men. K’V estimated that he has been paid between $400.00 and
$500.00 dollars since working for GANDY.

KY indicated that he has been instructed to massage certain clients alone on at least one
occasion. KV stated that he would “stay” in the RV while at GANDY’s residence, and men
would enter the RV and tell KV “I am here for you.” KV would massage these men alone while
in the nude and masturbate them. KV knew that GANDY was paid between $80.00 and $120.00
for the massage sessions. IfGANDY alone provided what was referred to as a “single”
massage, the fee was $80.00. If both KV and GANDY provided what was referred to as a “four
hand” massage together, the fee was $120.00. Upon completion of each massage, the clients

paid GANDY, and then GANDY would pay KV between $20.00 and $40.00, KV went on to say

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that GANDY has a large clientele and GANDY is busy most of the time.

GANDY stated that he and KV recently began discussing taking a trip to England.
GANDY purchased both plane tickets (approximately $2150.00) and gave KV money to
purchase an expedited passport (approximately $200.00). GANDY received a signed and
notarized affidavit form from K-V’s mother that authorized KV to travel with GANDY and
remain in the UK in GANDYS’ custody from July 18, 2012 until August, 22, 2012. GANDY had
not reserved any accommodations in the UK and was intending on finding a place to stay once
they landed in the UK.

During the secondary search of GANDY’s personal belongings, CBP officers discovered
approximately 90 condoms. When agents questioned GANDY about the condoms he told agents
that he utilized the condoms for massaging his clients prostates, and he had some “hope” of
possibly using a couple of condoms with KV once in London.

KY also told interviewers that GANDY intended to start a massage business while in
London that was similar to the one he ran in the Houston area. KV stated that GANDY told
him that he was unaware of the laws in the UK governing the types of massages he would be
legally permitted to provide. KV also stated that on July 18", 2012, while they were waiting to
board their flight to the UK, GANDY informed KV that he had two clients waiting for them in
the UK, They were set to meet him between July 22™ and July 24" 2012.

KV stated that GANDY promised KY that once in London he would possibly be able to
attend the Olympics, and that he would be taken to his favorite clothing store and be able to see
his favorite bands. KV was under the impression that he would be required to perform some
massages while he was in the UK but he was most excited about the shopping, the Olympics and
seeing his favorite bands.

Breach of Plea Agreement
19. If defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and the defendant's plea and sentence will stand, If at any time defendant retains,

conceals or disposes of assets in violation of this plea agreement, or if defendant knowingly

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withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

20. | Whether the defendant has breached any provision of this plea agreement shall be
determined solely by the United States through the United States Attorney's Office, whose
judgment in that regard is final.

Forfeiture

21. Defendant agrees to waive any and all interest in any asset which is the subject of
any related administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal, with the exception of the real property located at Truxillo Street and Dowling Street,
Houston, Texas. Defendant admits and agrees that the following assets, which are the subject of
the related civil forfeiture action styled United States of America v. 2005 C5500 Chevrolet

Recreational Vehicle, et al., and pending before the Houston Division of the United States District

 

Court for the Southern District of Texas under Case No. 4:12-cv-3668, were used or intended to be
used to commit or to facilitate the commission of transportation of a minor with intent to engage in
criminal sexual activity which form the basis of this criminal action:
A. The real property located at Truxillo Street and Dowling Street, Houston, Texas,
and legally described as:
Lot Eleven 11, in Block Five (5) of Washington Terrace, a subdivision in
Harris County, Texas, according to the map or plat thereof recorded in

Volume 557, Page 68 of the Deed Records of Harris County, Texas;

B. A 2005 C5500 Chevrolet Recreational Vehicle, VIN # 1GBESULE15F505062; and

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22.

A 2012 Toyota Scion IQ, VIN # JTINJJXB06CJ0O10887.

Defendant agrees that he will sign an agreed judgment in the related civil forfeiture

action (Case No. 4:12-cv-3668) that will forfeit all right, title, and interest in the assets which are

the subject of that action, except for the real property located at Truxillo Street and Dowling Street,

- Houston, Texas, to the United States. The terms of the agreed judgment will be as follows:

A,

23.

Defendant agrees to pay the United States a sum of money, equal to the fair market
value as determined by the United States, of the real property located at Truxillo
Street and Dowling Street, Houston, Texas, in lieu of forfeiture of that property.
Defendant agrees to pay the United States in the form of a cashier’s check made
payable to the United States, or its designee, at or before the time of re-arraignment.
Defendant understands and agrees that he is and will remain liable for any unpaid
ad valorem taxes on the real property referenced above.

Defendant agrees to allow/provide the United States, or its designee, access to the
real property for purposes of appraising the property.

Defendant agrees to the forfeiture of the 2005 C5500 Chevrolet Recreational
Vehicle, VIN # 1GBESU1EI5F505062.

Defendant agrees to the forfeiture of the 2012 Toyota Scion IQ, VIN #
JTNJTXB06CJO10887.

Defendant waives the right to challenge the agreed judgment in the civil forfeiture

action referenced above in any manner (including by direct appeal, habeas corpus, or any other

means) and on any grounds, including that the forfeiture constitutes an excessive fine or

punishment. The defendant agrees to take all steps requested by the United States to pass clear

title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture

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proceeding,
Complete Agreement

24. This written plea agreement, consisting of 15 pages, including the attached
addendum of defendant and his/her attorney, constitutes the complete plea agreement between the
United States, defendant and his/her counsel. No promises or representations have been made by
the United States except as set forth in writing in this plea agreement. Defendant acknowledges
that no threats have been made against him/her and that he/she is pleading guilty freely and
voluntarily because he/she is guilty.

25. Any modification of this plea agreement must be in writing and signed by all

 

 

 

 

 

 

parties.
Filed at Houston, Texas, on , 2014.
Jason Gandy
Defendant
Subscribed and sworn to before me on , 2014,
UNITED STATES DISTRICT CLERK
By:
Deputy United States District Clerk
APPROVED:
KENNETH MAGIDSON
United States Attorney
By:
Sherri L. Zack Dan Cogdell
Assistant United States Attomey Attorney for Defendant

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. : CRIMINAL NO, 12-503
JASON GANDY :
Defendant. §

PLEA AGREEMENT - ADDENDUM

I have fully explained to defendant his/her rights with respect to the pending Indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, I have carefully reviewed every
part of this plea agreement with Defendant. To my knowledge, Defendant's decision to enter into

this agreement is an informed and voluntary one,

 

 

Dan Cogdell Date
Attorney for Defendant

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I have consulted with my attorney and fully understand all my rights with respect to the
Indictment pending against me. My attorney has fully explained and I understand all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply inmy case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

 

 

Jason Gandy Date
Defendant

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EXHIBIT 2

GOVERNMENT
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JASON GANDY, )
) Case No. 4:12-er-005038

UNITED STATES OF AMERICA. )
DECLARATION OF JASON GANDY

I, Jason Gandy, declare under penalty of perjury that the
following is true and correct.
1. On August 15, 2012, I was charged in a one count criminal
indictment with knowingly transporting a minor in interstate commerce
to engage in prostitution in violation of 18 U.S.C. § 2423(a).
2. OnSeptember 28, 2012, I retained Attorney Cogdell. On April 5,
2013, I retained Attorney Flood.
3. By December 5, 2013, Attorneys Cogdell and Flood were actively
discussing a potential resolution of the case with the government on my
behalf.
4. Shortly thereafter, Cogdell and Flood provided me with a proposed

Fed. R. Crim. P, 11(c)(1)(C) written plea agreement.
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5. The plea agreement stated that, if ] should violate the conditions
of any period of supervised release, [ "may be imprisoned for the entire
term of supervised release." Moreover, I cannot have the imposition or
execution of the sentence suspended, nor am I eligible for parole.

6. Attorneys Cogdell and Flood informed me that, if the Court
accepted the plea agreement, I would receive "10 years on Count One."
The ten-year sentence would be "followed by a term of Life on
supervised release."

7. Cogdell and Flood informed me that there was no parole and I
would serve my entire term of supervised release.

8.  lLinformed Attorneys Cogdell and Flood that lifetime supervised
release was a deal breaker.

9.  Jinformed Cogdell and Flood that I eventually wanted to travel to
other countries and potentially move overseas permanently. Cogdell
and Flood never informed me that a term-of supervised release saat be
reduced and/or its conditions modified.

10. Attorneys Cogdell and Flood communicated with me stepmother

and father, Julie and Joe Gandy. My parents provided their own
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declarations about the conversations that we, as a family, had with
Cogdell and Flood.

11. Iultimately rejected the plea offer and, on September 17, 2014, I
was charged in a three-count superseding indictment. Count One
remained the same. Count Two charged that I enticed a minor to
engage in sexually explicit conduct. Count Three charged that I
transported pornography in interstate commerce.

12. The plea negotiations broke down. On March 30, 2015, I retained
Attorney Nicole BeBorde. On April 1, 2015, Attorney Flood withdrew.
On April 3, 2017, II retained Attorney Dustan Neyland. On April 28,
2017, Attorneys Cogdell and DeBorde withdrew.

18. On February 15, 2018, I was charged in a second superseding
seven count indictment. Counts One through Three remained the same.
Counts Four, Five, Six, and Seven charged that I enticed Minors # 1, #
2,# 3, and# 4 to engage in commercial sex acts.

14. On June 7, 2018, I retained Attorney Sean Buckley. I went to trial
on July 18, 19, and 28, 2018. On July 23, 2018, I was found guilty on all
counts. On December 18, 2018, I was sentenced to a total term of 360

months imprisonment and lifetime supervised release.
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15. On November 4, 2019, the Fifth Circuit affirmed my conviction
and sentence. On February 2, 2021, I filed a timely 28 U.S.C. § 2255
motion that Attorneys Cogdell and Flood were ineffective.

16. Had I known that the district court could terminate a term of
supervised release after the expiration of one year or could modify the
conditions of supervised release so that I could travel outside the United
States, I would have accepted the Fed. R. Crim. P. 11(c)(1)(C) written

plea agreement and pleaded guilty.

Signed this day of Apmil 2021.

 

Jason Gandy
Case 4:12-cr-00503 Document 264 Filed on 12/07/21 in TXSD Page 154 of 169
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JASON GANDY, )
) Case No. 4:12-cr-00508

UNITED STATES OF AMERICA. )
DECLARATION OF JASON GANDY

I, Jason Gandy, declare under penalty of perjury that the

» following is true and correct.

1. On August 15, 2012, I was charged in a one count criminal
indictment with knowingly transporting a minor in interstate commerce
to engage in prostitution in violation of 18 U.S.C. § 2423(a).

2. . On September 28, 2012, I retained Attorney Cogdell. On April 5,
2013, I retained Attorney Flood.

3. By December 5, 2013, Attorneys Cogdell and Flood were actively
discussing a potential resolution of the case with the government on my
behalf.

4. Shortly thereafter, Cogdell and Flood provided me with a proposed

Fed. R. Crim. P, 11(c)(1)(C) written plea agreement.
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5. The plea agreement stated that, if I should violate the conditions
of any period of supervised release, I "may be imprisoned for the entire
term of supervised release." Moreover, I cannot have the imposition or
execution of the sentence suspended, nor am I eligible for parole.

6. Attorneys Cogdell and Flood informed me that, if the Court
accepted the plea agreement, I would receive "10 years on Count One."
The ten-year sentence would be "followed by a term of Life on
supervised release."

7. Cogdell and Flood informed me that there was no parole and I
would serve my entire term of supervised release.

8. Llinformed Attorneys Cogdell and Flood that lifetime supervised
release was a deal ches.

9. I informed Cogdell and Flood that I eventually wanted to travel to
other countries and potentially move overseas permanently. Cogdell
and Flood never informed me that a term of supervised release could be
reduced and/or its conditions modified.

10. Attorneys Cogdell and Flood communicated with ao

and father, Julie and Joe Gandy. My parents provided their own
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declarations about the conversations that we, as a family, had with
Cogdell and Flood.

ll. TLultimately rejected the plea offer and, on September 17, 2014, I
was charged in a three-count superseding indictment. Count One
remained the same. Count Two charged that I enticed a minor to
engage in sexually explicit conduct. Count Three charged that I
transported pornography in interstate commerce.

12. The plea negotiations broke down. On March 30, 2015, I retained
Attorney Nicole BeBorde. On April 1, 2015, Attorney Flood withdrew.
On April 3, 2017, I retained Attorney Dustan Neyland. On April 28,
2017, Attorneys Cogdell and DeBorde withdrew.

13.. On February 15, 2018, I was charged in a second superseding
seven count indictment. Counts One through Three remained the same.
Counts Four, Five, Six, and Seven charged that I enticed Minors # 1, #
2,# 3, and# 4 to engage in commercial sex acts.

14. OnJune 7, 2018, I retained Attorney Sean Buckley. I went to trial
on July 18, 19, and 28, 2018. On July 28, 2018, I was found guilty on all
counts. On December 18, 2018, I was sentenced to a total term of 360

months imprisonment and lifetime supervised release.
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15. On November 4, 2019, the Fifth Circuit affirmed my conviction
and sentence. On February 2, 2021, I filed a timely 28 U.S.C. § 2255
motion shaw dlttcnaoeis Cogdell and Flood were ineffective.

16. HadI feat that the district court could terminate a term of
suparviaée release after the expiration of one year or could modify the
conditions of supervised release so that I could travel outside the United
States, I would have accepted the Fed. R. Crim. P. 11(c)(1)(C) written

plea agreement and pleaded guilty.

Signed this a3 day of April 2021.

Kuso

‘Iason Gandy
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EXHIBIT 3

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JASON GANDY, )
) Case No. 4:12-cr-005038

UNITED STATES OF AMERICA. )
DECLARATION OF JULIE GANDY

I, Julie Gandy, declare under the penalty of perjury that the
following is true to the best of my knowledge.

1. Mystepson, Jason Gandy, was charged in United States v.
Gandy, Case 12-cr-00503 (S.D. Tex).

2. My stepson retained Attorneys Dan Cogdell and Charles
Flood.

3. Prior to trial, Attorneys Codgell and Flood communicated
with Gandy's father and I about a plea deal offered by the government.

4. When Jason was offered the plea deal, his dad and I strongly
encouraged him to take it.

5. We knew that Jason was seriously considering it but had
several issues with the plea offer as it was written.

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Declaration of Julie Gandy Page 1
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6. I know that Jason discussed these issues with Flood and
Coegdell.

7. Lalso asked Flood and Cogdell about the supervised release
several times.

8. ‘The following are Jason’s concerns about the proposed plea
that I remember discussing with Flood and Cogdell:

a. Jason could be on supervised release up to life. We asked if
they could get that time reduced and Cogdell told us that the
judge would make that determination on the day of
sentencing.

b. Jason wanted to be able to leave the country to travel and
eventually live in another country, i.e. Indonesia, which he
fell in love with on his travels. From the limited information
provided by Flood and Cogdell about the plea deal, Jason, his
father and I understood that he would not be able to leave
the US while on supervised release.

c. Jason did not want to be labeled a “Child Molester.” He said
he’d have to live in fear for his life and wouldn’t be safe
anywhere in the U.S. That was another reason that he

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Declaration of Julie Gandy Page 2
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wanted to leave the U.S. and live overseas, where he would

not have to live under that label.

Signed this 2"¢ day of April 2021.

Oulie ronal
Julie Gandy

 

Declaration of Julie Gandy Page 3
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EXHIBIT 4

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JASON GANDY, )
) Case No. 4:12-cer-00503

UNITED STATES OF AMERICA. )

DECLARATION OF JOE GANDY
I, Joe Gandy, declare under the penalty of perjury that the
following is true to the best of my knowledge.
1. Myson, Jason Gandy, was charged in United States v.
Gandy, Case 12-cr-00508 (S.D. Tex).
2. Myson retained Attorneys Dan Cogdell and Charles Flood.
3. Prior to trial, Attorneys Cogdell and Flood communicated
with my wife, Julie, and I about a plea deal.
4. |My memories of the plea deal are as follows:
a. Jason was seriously thinking of taking the plea deal and
took a long time to decide.
b. He had some major problems with it that ended up causing

him to turn it down.

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Declaration of Joe Gandy Page 1
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c. Chief among those concerns was Jason knew he would be
labeled a child molester which would make him a target for
crazies here in the U.S. so he wanted to leave the US and
live in another country.

d. Jason loved Bali so he said that he wanted to
go there and live in peace.

e. Attorneys Cogdell and Flood advised my wife and I that
Jason could not leave the country while on supervised

release.

Signed this 2nd day of April 2021.

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Joe Gandy

 

Declaration of Joe Gandy Page 2
